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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

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                                                             :
In re                                                        :        Chapter 11
                                                             :
24 HOUR FITNESS                                              :        Case No. 20– 11558 (KBO)
WORLDWIDE, INC., et al.,                                     :
                                                             :
                                    Debtors.1                :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x


                       SCHEDULE OF ASSETS AND LIABILITIES FOR
                      24 HOUR HOLDINGS II LLC (CASE NO. 20-11559)




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are 24 Hour Holdings II LLC (N/A); 24 Hour Fitness Worldwide, Inc. (5690); 24 Hour
    Fitness United States, Inc. (8376); 24 Hour Fitness USA, Inc. (9899); 24 Hour Fitness Holdings LLC (8902); 24
    San Francisco LLC (3542); 24 New York LLC (7033); 24 Denver LLC (6644); RS FIT Holdings LLC (3064);
    RS FIT CA LLC (7007); and RS FIT NW LLC (9372). The Debtors’ corporate headquarters and service address
    is 12647 Alcosta Blvd., Suite 500, San Ramon, CA 94583.
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                     GLOBAL NOTES AND STATEMENTS OF
               LIMITATIONS, METHODOLOGY, AND DISCLAIMERS
              REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
           AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        24 Hour Fitness Worldwide, Inc. (“Worldwide”) and its debtor affiliates in the above-
captioned chapter 11 cases, as debtors and debtors in possession (collectively, the “Debtors”), are
filing their respective Schedules of Assets and Liabilities (each, a “Schedule” and, collectively,
the “Schedules”) and Statements of Financial Affairs (each, a “Statement” and, collectively,
the “Statements”) in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”).

       These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are
incorporated by reference in, and comprise an integral part of all of the Schedules and Statements.
The Global Notes are in addition to the specific notes set forth below with respect to the Schedules
and Statements (the “Specific Notes” and, together with the Global Notes, the “Notes”). These
Notes should be referred to, and referenced in connection with, any review of the Schedules and
Statements.

         The Debtors’ management team prepared the Schedules and Statements with the assistance
of their advisors and other professionals. The Schedules and Statements are unaudited and subject
to potential adjustment. In preparing the Schedules and Statements, the Debtors relied on financial
data derived from their books and records that was available at the time of preparation. The
Debtors’ management team and advisors have made reasonable efforts to ensure that the Schedules
and Statements are as accurate and complete as possible under the circumstances; however,
subsequent information or discovery may result in material changes to the Schedules and
Statements, and errors or omissions may exist. Notwithstanding any such discovery, new
information, or errors or omissions, the Debtors do not undertake any obligation or commitment
to update the Schedules and Statements.

                The Debtors reserve all rights to amend or supplement the Schedules and
Statements from time to time, in all respects, as may be necessary or appropriate, including the
right to dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules and
Statements as to amount, liability, classification, or identity of the applicable Debtor or to
otherwise subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.”
Furthermore, nothing contained in the Schedules, Statements, or Notes shall constitute a waiver of
any of the Debtors’ rights or an admission with respect to their chapter 11 cases, including any
issues involving objections to claims, substantive consolidation, equitable subordination, defenses,
characterization or re-characterization of contracts and leases, assumption or rejection of contracts
and leases under the provisions of chapter 3 of the Bankruptcy Code, causes of action arising under
the provisions of chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to
recover assets or avoid transfers.




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                                         Global Notes

The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of any
of the Debtors or their affiliates.

       1.     Description of the Cases. On June 15, 2020 (the “Petition Date”), each of the
              Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code.
              The Debtors are authorized to operate their businesses and manage their properties
              as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
              Code. On the Petition Date, the Bankruptcy Court entered an order authorizing the
              joint administration of the chapter 11 cases pursuant to Bankruptcy Rule 1015(b).
              [See Docket No. 90.] Notwithstanding the joint administration of the Debtors’
              cases for procedural purposes, each Debtor has filed its own Schedule and
              Statement. On June 25, 2020, the United States Trustee for the District of Delaware
              (the “U.S. Trustee”) appointed an official committee of unsecured creditors
              pursuant to section 1102(a)(1) of the Bankruptcy Code (the “Creditors’
              Committee”).

       2.     Basis of Presentation. For financial reporting purposes, the Debtors generally
              prepare consolidated financial statements, which include information for
              Worldwide and its Debtor and non-Debtor affiliates. The Schedules and Statements
              are unaudited and reflect the Debtors’ reasonable efforts to report certain financial
              information of each Debtor on an unconsolidated basis. These Schedules and
              Statements neither purport to represent financial statements prepared in accordance
              with Generally Accepted Accounting Principles in the United States (“GAAP”),
              nor are they intended to be fully reconciled with the financial statements of each
              Debtor.

              The Debtors used reasonable efforts to attribute the assets and liabilities, certain
              required financial information, and various cash disbursements to each particular
              Debtor entity. Because the Debtors’ accounting systems, policies, and practices
              were developed for consolidated reporting purposes rather than for reporting by
              legal entity, however, it is possible that not all assets and liabilities have been
              recorded with the correct legal entity on the Schedules and Statements.
              Accordingly, the Debtors reserve all rights to supplement and amend the Schedules
              and Statements in this regard, including with respect to reallocation of assets or
              liabilities to any particular entity.

       3.     Reporting Date. Unless otherwise noted on the specific responses, the Schedules
              and Statements generally reflect the Debtors’ books and records as of the Petition
              Date. The liability values are as of the Petition Date, adjusted for authorized
              payments made under the First Day Orders (as defined below).

       4.     Current Values. The assets and liabilities of each Debtor are listed on the basis of
              the book value of the asset or liability in the respective Debtor’s accounting books




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     and records. Unless otherwise noted, the carrying value on the Debtors’ books,
     rather than the current market value, is reflected in the Schedules and Statements.

5.   Confidentiality. There may be instances where certain information was not
     included or was redacted due to the nature of an agreement between a Debtor and
     a third party, concerns about the confidential or commercially sensitive nature of
     certain information, or to protect the privacy of an individual.

6.   Consolidated Entity Accounts Payable and Disbursement Systems.
     As described in the Motion of Debtors for Entry of Interim and Final Orders
     (I) Authorizing Debtors to (A) Continue Participating in Existing Cash
     Management System and Using Bank Accounts and Business Forms, and
     (B) Continue Intercompany Transactions, (II) Providing Administrative Expense
     Priority for Postpetition Intercompany Claims, and (III) Granting Related Relief
     [Docket No. 8] (the “Cash Management Motion”), the Debtors utilize an
     integrated, centralized cash management system in the ordinary course of business
     to collect, concentrate, and disburse funds generated by their operations (the “Cash
     Management System”). The Debtors maintain a consolidated disbursements
     system to pay operating and administrative expenses through disbursement
     accounts.

     In the ordinary course of business, the Debtors maintain business relationships
     among each other, which result in intercompany receivables and payables
     (the “Intercompany Claims”) arising from intercompany transactions
     (the “Intercompany Transactions”). As set forth more fully in the Cash
     Management Motion, the primary Intercompany Transactions giving rise to
     Intercompany Claims are cash receipts activities, disbursement activities, and
     expense allocations. Historically, Intercompany Claims are not settled by actual
     transfers of cash among the Debtors. Instead, the Debtors track all Intercompany
     Transactions in their accounting system, which concurrently are recorded on the
     applicable Debtors’ balance sheets. The Debtors’ accounting system requires that
     all general-ledger entries be balanced at the legal-entity level. Unless otherwise
     noted, the Debtors have reported the aggregate net intercompany balances among
     the Debtors as assets on Schedule A/B or as liabilities on Schedule E/F, as
     appropriate.

7.   Accuracy. The financial information disclosed herein was not prepared in
     accordance with federal or state securities laws or other applicable nonbankruptcy
     law or in lieu of complying with any periodic reporting requirements thereunder.
     Persons and entities trading in or otherwise purchasing, selling, or transferring
     claims against or equity interests in the Debtors should evaluate this financial
     information in light of the purposes for which it was prepared. The Debtors are not
     liable for and undertake no responsibility to indicate variations from securities laws
     or for any evaluations of the Debtors based on this financial information or any
     other information.




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8.    Net Book Value of Assets. In many instances, current market valuations are not
      maintained by or readily available to the Debtors. Thus, wherever possible, net
      book values as of the Petition Date are presented. When necessary, the Debtors
      have indicated that the value of certain assets is “unknown” or “undetermined.”
      Amounts ultimately realized may vary materially from net book value (or other
      value so ascribed). Accordingly, the Debtors reserve all rights to amend,
      supplement, and adjust the asset values set forth in the Schedules and Statements.
      As applicable, fixed assets and leasehold-improvement assets that have been fully
      depreciated or amortized, or were expensed for GAAP accounting purposes, have
      no net book value and, therefore, are not included in the Schedules and Statements.

9.    Undetermined Amounts. Claim amounts that could not readily be quantified by
      the Debtors are scheduled as “undetermined,” “unknown,” or “N/A.” The
      description of an amount as “undetermined,” “unknown,” or “N/A” is not intended
      to reflect upon the materiality of the amount.

10.   Excluded Assets and Liabilities. The Debtors believe that they have identified,
      but did not necessarily value, all material categories of assets and liabilities in the
      Schedules. The Debtors have excluded certain accrued liabilities, including,
      without limitation, accrued salaries and wages, employee benefit accruals, and
      certain other accruals, as well as certain other assets and liabilities considered to
      have de minimis or no market value, from the Schedules and Statements. Other
      immaterial assets and liabilities may also have been excluded.

11.   Totals. All totals that are included in the Schedules and Statements represent totals
      of all the known amounts included in the Schedules and Statements and exclude
      items identified as “unknown” or “undetermined.” If there are unknown or
      undetermined amounts, the actual totals may be materially different from the listed
      totals.

12.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
      unless otherwise indicated.

13.   Payment of Prepetition Claims Pursuant to First Day Orders. Following the
      Petition Date, the Bankruptcy Court entered various orders (the “First Day
      Orders”) authorizing, but not directing, the Debtors to, among other things, pay
      certain prepetition (i) service fees and charges assessed by the Debtors’ banks;
      (ii) insurance and surety bond obligations; (iii) obligations to critical vendors;
      (iv) claims of shippers and lienholders; (v) customer program obligations;
      (vi) employee wages, salaries, and related items (including, employee benefit
      programs and independent contractor obligations); and (vii) taxes and assessments.
      Accordingly, outstanding liabilities may have been reduced by any court-approved
      post-petition payments made with respect to prepetition payables. Where and to
      the extent these liabilities have been satisfied, they are not listed in the Schedules
      and Statements unless otherwise noted. To the extent the Debtors later pay any
      amount of the claims listed in the Schedules and Statements pursuant to any orders
      entered by the Bankruptcy Court, the Debtors reserve all rights to amend or



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      supplement the Schedules and Statements or to take other action, such as filing
      claims objections, as is necessary and appropriate to avoid overpayment or
      duplicate payments for liabilities. Nothing contained herein should be deemed to
      alter the rights of any party in interest to contest a payment made pursuant to an
      order of the Bankruptcy Court where such order preserves the right to contest.

14.   Other Paid Claims. To the extent the Debtors have reached any postpetition
      settlement with a vendor or other creditor, the terms of such settlement will prevail
      and shall supersede amounts listed in the Debtors’ Schedules and Statements and
      be enforceable by all parties, subject to Bankruptcy Court approval.

15.   Setoffs. The Debtors routinely incur certain setoffs with respect to vendors and
      other third parties in the ordinary course of business. Setoffs in the ordinary course
      can result from various items, including, but not limited to, pricing discrepancies,
      returns, promotional funding, and other disputes between the Debtors and third
      parties. These routine setoffs are consistent with the ordinary course of business in
      the Debtors’ industry and, therefore, can be particularly voluminous, unduly
      burdensome, and costly for the Debtors to regularly document. Therefore, although
      such setoffs and other similar rights may have been accounted for when scheduling
      certain amounts, these ordinary-course setoffs are not independently accounted for
      and, thus, are excluded from the Debtors’ Schedules and Statements. Any setoff of
      a prepetition debt to be applied against the Debtors is subject to the automatic stay
      and must comply with section 553 of the Bankruptcy Code.

16.   Inventory. The Debtors maintain saleable inventory, primarily at their club
      locations. Such inventories are valued at the lower of cost or market or net
      realizable value.

17.   Property and Equipment. Property and equipment are recorded at historical cost.
      Depreciation is computed on the straight-line method over the estimated useful
      lives of the furniture, fixtures, and equipment, which generally range from five to
      ten years. Amortization of leasehold improvements is computed on the straight-
      line method based upon the shorter of the estimated useful lives of the assets or the
      terms of the respective leases.

18.   Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements,
      or Notes shall constitute a waiver of rights with respect to these chapter 11 cases,
      including, but not limited to, the following:

      a.     Any failure to designate a claim listed on the Debtors’ Schedules and
             Statements as “disputed,” “contingent,” or “unliquidated” does not
             constitute an admission by the Debtors that such amount is not “disputed,”
             “contingent,” or “unliquidated.” The Debtors reserve the right to dispute
             and to assert setoff rights, counterclaims, and defenses to any claim
             reflected on the Schedules as to amount, liability, and classification and to
             otherwise subsequently designate any claim as “disputed,” “contingent,” or
             “unliquidated.”




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b.    Notwithstanding that the Debtors have made reasonable efforts to correctly
      characterize, classify, categorize, or designate certain claims, assets,
      executory contracts, unexpired leases, and other items reported in the
      Schedules and Statements, the Debtors nonetheless may have improperly
      characterized, classified, categorized, or designated certain items. The
      Debtors thus reserve all rights to re-characterize, re-classify, re-categorize,
      or re-designate items reported in the Schedules and Statements at a later
      time as is necessary and appropriate.

c.    The listing of a claim on Schedule D as “secured,” on Schedule E/F (Part 1)
      as “priority,” on Schedule E/F (Part 2) as “unsecured” or the listing of a
      contract or lease on Schedule G as “executory” or “unexpired” does not
      constitute an admission by the Debtors of the legal rights of the claimant or
      a waiver of the Debtors’ rights to re-characterize or re-classify such claim
      or contract pursuant to an amendment to the Schedules, a claim objection,
      or otherwise. Moreover, although the Debtors may have scheduled claims
      of various creditors as secured claims for informational purposes, no current
      valuation of the Debtors’ assets in which such creditors may have a security
      interest has been undertaken. Except as provided in an order of the
      Bankruptcy Court, the Debtors reserve all rights to dispute and challenge
      the secured nature or amount of any such creditors’ claims, the
      characterization of the structure of any transaction, or any document or
      instrument related to such creditors’ claims.

d.    In the ordinary course of their business, the Debtors lease real property from
      certain third-party lessors to operate their businesses. The Debtors have
      made commercially reasonable efforts to list any such leases in Schedule G,
      and any current amounts due under such leases that were outstanding as of
      the Petition Date are listed on Schedule E/F. Except as otherwise noted
      herein, the property subject to any such leases is not reflected in Schedule
      A/B as either owned property or assets of the Debtors, and neither is such
      property or assets of third parties within the control of the Debtors. Nothing
      in the Schedules is or shall be construed as an admission or determination
      as to the legal status of any lease (including whether any lease is a true lease
      or a financing arrangement), and the Debtors reserve all rights with respect
      to any of such issues, including the re-characterization thereof.

e.    The claims of individual creditors for, among other things, goods, products,
      services, or taxes are listed as the amounts entered on the Debtors’ books
      and records and may not reflect credits, allowances, or other adjustments
      due from such creditors to the Debtors. The Debtors reserve all of their
      rights with regard to such credits, allowances, and other adjustments,
      including the right to assert claims objections and/or setoffs with respect to
      the same.

f.    The Debtors’ businesses are part of a complex enterprise. Although the
      Debtors have exercised their reasonable efforts to ensure the accuracy of



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      their Schedules and Statements, the Schedules and Statements nevertheless
      may contain errors and omissions. The Debtors hereby reserve all of their
      rights to dispute the validity, status, and enforceability of any contracts,
      agreements, and leases identified in the Debtors’ Schedules and Statements
      and to amend and supplement the Schedules and Statements as necessary.

g.    The Debtors further reserve all of their rights, claims, and causes of action
      with respect to the contracts and agreements listed on the Schedules and
      Statements, including, but not limited to, the right to dispute and challenge
      the characterization or the structure of any transaction, document, and
      instrument related to a creditor’s claim.

h.    Except as otherwise indicated, the Debtors have identified the primary
      Debtor obligor(s) with respect to their executory contracts, unexpired
      leases, and other agreements. The Debtors reserve their rights to amend and
      supplement the Schedules and Statements to the extent that guarantees and
      other secondary liability claims are identified. In addition, the Debtors
      reserve the right to amend the Schedules and Statements to re-characterize
      and re-classify any such contract or claim.

i.    Listing a contract or lease on the Debtors’ Schedules and Statements shall
      not be deemed an admission that such contract is an executory contract,
      such lease is an unexpired lease, or that either necessarily is a binding, valid,
      and enforceable contract. The Debtors hereby expressly reserve the right to
      assert that any contract listed on the Debtors’ Schedules and Statements
      does not constitute an executory contract within the meaning of section 365
      of the Bankruptcy Code and the right to assert that any lease so listed does
      not constitute an unexpired lease within the meaning of section 365 of the
      Bankruptcy Code.

j.    Exclusion of certain intellectual property should not be construed to be an
      admission that such intellectual property rights have been abandoned, have
      been terminated or otherwise expired by their terms, or have been assigned
      or otherwise transferred pursuant to a sale, acquisition, or other transaction.
      Conversely, inclusion of certain intellectual property should not be
      construed to be an admission that such intellectual property rights have not
      been abandoned, have not been terminated or otherwise expired by their
      terms, or have not been assigned or otherwise transferred pursuant to a sale,
      acquisition, or other transaction.

k.    To timely close the books and records of the Debtors as of the Petition Date
      and to prepare such information on a legal-entity basis, the Debtors were
      required to make certain estimates and assumptions that affect the reported
      amounts of assets and liabilities and reported revenue and expenses as of
      the Petition Date. The Debtors reserve all rights to amend the reported
      amounts of assets, liabilities, revenue, and expenses to reflect changes in
      those estimates and assumptions.



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19.   Global Notes Control. In the event that the Schedules or Statements differ from
      any of the foregoing Global Notes, the Global Notes shall control.




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      Specific Notes with Respect to the Debtors’ Schedules of Assets and Liabilities

Schedule A/B

   a. Part 1. As set forth more fully in the Cash Management Motion, the Debtors conduct their
      operations through an extensive network of bank accounts. The values provided for in
      Schedule A/B, Item 3 for each account for a given Debtor reflect the ending cash balance
      of such account as of the close of business on June 14, 2020.

   b. Part 2. The Debtors maintain certain deposits in the conduct of their business operations,
      which are included in the Schedules for the appropriate legal entity. Certain prepaid or
      amortized assets are listed in Part 2 in accordance with the Debtors’ books and records.
      The amounts listed in Part 2 do not necessarily reflect values that the Debtors will be able
      to collect or realize. The amounts listed in Part 2 include, among other things, various
      prepaid deposits, prepaid taxes, prepaid insurance, and prepaid supplies.

   c. Part 3. The Debtors’ accounts receivable information includes receivables from the
      Debtors’ members, vendors, or third parties, which are calculated net of any amounts that,
      as of the Petition Date, may be owed to such parties in the form of offsets or other
      adjustments pursuant to the Debtors’ day-to-day operations or may, in the Debtors’
      opinion, be difficult to collect from such parties due to the passage of time or other
      circumstances. The Debtors indicate the age of accounts receivables in the Schedules for
      the applicable Debtor. The accounts receivable balances in this section exclude
      intercompany receivables.

      As stated in the Cash Management Motion, the Debtors historically have tracked
      Intercompany Transactions and continue to track such Intercompany Transactions on a
      post-petition, Debtor-by-Debtor basis.

   d. Part 4. Any of the Debtors’ ownership interests in subsidiaries, partnerships, and joint
      ventures were not considered and are not listed in Schedule A/B, Part 4 because the fair
      market value of such interests is dependent on numerous variables and factors and may
      differ significantly from the net book value.

   e. Part 5. The Debtors maintain saleable inventory, primarily at their club locations. Such
      inventories are valued at the lower of cost or market or net realizable value.

   f. Part 7. The Debtors have identified owned furniture, fixtures, and equipment. Actual
      realizable values may vary significantly relative to net book values as of the Petition Date.

   g. Part 9. Actual realizable values of the identified leasehold improvements may vary
      significantly relative to net book values as of the Petition Date.

   h. Part 10. The Debtors have identified intangible assets as of the Petition Date, although
      the Debtors have not listed the value of such assets because the values reflected in the
      Debtors’ books and records may not accurately reflect such assets’ value in the




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       marketplace. Additionally, certain of the Debtors have member information from
       conducting gift card programs, credit card and online sales, and ordinary-course business
       practices for an operator of fitness clubs, which information may include personally
       identifiable information. The Debtors maintain certain records in the ordinary course of
       business but do not sell these records in the ordinary course of business. Due to the need
       to protect confidential information and individual privacy, the Debtors have not furnished
       any customer lists on their Schedules.

   i. Part 11. In the ordinary course of business, the Debtors may have accrued, or may
      subsequently accrue, certain rights to counterclaims, cross-claims, setoffs, and refunds with
      and potential warranty claims against their vendors, among other claims. Additionally,
      certain of the Debtors may be party to pending litigation in which the Debtors have
      asserted, or may assert, claims as plaintiffs or counter-claims and/or cross-claims as
      defendants. Such litigation is listed in the Statements.

       Despite exercising their reasonable efforts to identify all such assets, the Debtors may not
       have listed all of their causes of action or potential causes of action against third parties as
       assets in their Schedules, including, but not limited to, avoidance actions arising under
       chapter 5 of the Bankruptcy Code, actions under other relevant nonbankruptcy laws to
       recover assets, and actions relating to or arising from the COVID-19 pandemic. The
       Debtors reserve all of their rights with respect to any claims, causes of action, or avoidance
       actions they may have, and neither these Notes nor the Schedules shall be deemed a waiver
       of any such claims, causes of action, or avoidance actions or in any way prejudice or impair
       the assertion of such claims.

       The Debtors file consolidated federal tax returns, as well as certain of their state tax returns,
       under Worldwide. The values of the net operating losses listed in Schedule A/B reflect the
       amounts listed in the Debtors’ books and records, which may not reflect the value
       recoverable on account of such net operating losses, and may reflect net operating losses
       accumulated for more than one tax year.

       Where a Debtor holds a positive net intercompany balance, such amount has been listed on
       Schedule A/B for such Debtor. Correspondingly, where a Debtor holds a negative net
       intercompany balance, such amount has been listed on Schedule E/F, Part 2 for such
       Debtor.

Schedule D

The claims listed on Schedule D, as well as the guarantees of those claims listed on Schedule H,
arose and were incurred on various dates; a determination of the date upon which each claim arose
or was incurred would be unduly burdensome and cost prohibitive. Accordingly, not all such dates
are included for each claim. To the best of the Debtors’ knowledge, all claims listed on Schedule
D arose or were incurred prior to the Petition Date. The amounts in Schedule D are consistent
with the Debtors’ stipulations set forth in the Final Order (I) Authorizing the Debtors to Obtain
Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens
and Providing Superpriority Administrative Expense Claims, (IV) Granting Adequate Protection




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to Prepetition Lenders, (V) Modifying Automatic Stay, and (VI) Granting Related Relief [Docket
No. 652] (the “DIP Order”), which remain subject to investigation and challenge by the Creditors’
Committee or other parties in interest, all as more fully set forth in the DIP Order and the order
extending the time for the Creditors’ Committee to challenge such liens entered by the Bankruptcy
Court on August 21, 2020 [Docket No. 774].

Except as otherwise agreed to or stated pursuant to a stipulation, agreed order, or general order
entered by the Bankruptcy Court that is or becomes final, including the DIP Order, the Debtors
and their estates reserve their right to dispute and challenge the validity, perfection, or immunity
from avoidance of any lien purported to be granted or perfected in any specific asset to a creditor
listed on Schedule D of any Debtor and, subject to the foregoing limitations, note as follows:
(a) although the Debtors may have scheduled claims of various creditors as secured claims for
informational purposes, no current valuation of the Debtors’ assets in which such creditors may
have a lien has been undertaken; (b) the Debtors reserve all rights to dispute and challenge the
secured nature of any creditor’s claim, the characterization of the structure of any such transaction,
or any document or instrument related to such creditor’s claim; and (c) the descriptions provided
on Schedule D only are intended to be a summary. Reference to the applicable loan agreements
and related documents is necessary for a complete description of the collateral and the nature,
extent, and priority of any liens.

Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of collateral
relating to the debt contained on Schedule D are contained in the Declaration of Daniel Hugo in
Support of Debtors’ Chapter 11 Petitions and First Day Relief [Docket No. 4] (the “First Day
Declaration”). Although there are multiple parties that hold a portion of the Debtors’
indebtedness, only the administrative agent has been listed for the purposes of Schedule D. The
descriptions provided in Schedule D are intended only to be a summary. Reference to the
applicable loan documents is necessary for a complete description of the collateral and the nature,
extent, and priority of any liens. Nothing in these Notes or the Schedules and Statements shall be
deemed a modification or interpretation of the terms of such agreements

Except as specifically stated herein, real property lessors, utility companies, and other parties that
may hold deposits have not been listed on Schedule D. Additionally, the Debtors have not included
parties that may assert claims secured through setoff rights or inchoate statutory lien rights.

Schedule E/F

   a. Part 1. The claims listed on Part 1 arose and were incurred on various dates. A
      determination of the date upon which each claim arose or was incurred would be unduly
      burdensome and cost prohibitive. Accordingly, no such dates are included for each claim
      listed on Part 1. To the best of the Debtors’ knowledge, all claims listed on Part 1 arose or
      were incurred before the Petition Date.

       The Debtors have not listed any wage or wage-related obligations that the Debtors have
       paid pursuant to the First Day Orders on Part 1. The Debtors believe that all such claims
       for wages, salaries, expenses, benefits, and other compensation as described in the First




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   Day Orders have been or will be satisfied in the ordinary course during these chapter 11
   cases pursuant to the authority granted to the Debtors in the relevant First Day Orders.

   Claims owing to various taxing authorities to which the Debtors potentially may be liable
   are included on Part 1. Such claims, however, may be subject to ongoing audits and/or the
   Debtors may otherwise be unable to determine with certainty the amount of the remaining
   claims listed on Part 1. Therefore, the Debtors have listed all such claims as “contingent”
   and “unliquidated,” pending final resolution of ongoing audits or other outstanding issues.

   The Debtors reserve their rights to dispute or challenge whether creditors listed on Part 1
   are entitled to priority claims under the Bankruptcy Code.

b. Part 2. The Debtors have exercised their reasonable efforts to list all liabilities on Part 2
   of each applicable Debtor’s Schedule. As a result of the Debtors’ consolidated operations,
   however, Part 2 for each Debtor should be reviewed in these chapter 11 cases for a
   complete understanding of the unsecured claims against the Debtors. Certain creditors
   listed on Part 2 may owe amounts to the Debtors, and, thus, the Debtors may have valid
   setoff and recoupment rights with respect to such amounts. The amounts listed on Part 2
   may not reflect any such right of setoff or recoupment, and the Debtors reserve all rights
   to assert the same and to dispute and challenge any setoff and/or recoupment rights that
   may be asserted against the Debtors by a creditor. Additionally, certain creditors may
   assert mechanics’ or other similar liens against the Debtors for amounts listed on Part 2.
   The Debtors reserve their right to dispute and challenge the validity, perfection, and
   immunity from avoidance of any lien purported to be perfected by a creditor listed on Part
   2 of any Debtor. In addition, certain claims listed on Part 2 may potentially be entitled to
   priority under section 503(b)(9) of the Bankruptcy Code. The Debtors reserve their right
   to dispute or challenge any priority asserted with respect to any liabilities listed on
   Schedule E/F.

   Unless otherwise noted, the claims listed on Part 2 are based on the Debtors’ books and
   records as of the Petition Date. Despite the Debtors’ reasonable efforts to include all
   unsecured creditors on Part 2, including, but not limited to, trade creditors, landlords, utility
   companies, and other service providers, there may be instances where creditors have yet to
   provide proper invoices for prepetition goods or services. Although the Debtors maintain
   general accruals to account for these liabilities in accordance with GAAP, these amounts
   are estimates and have not been included on Part 2. Such amounts are, however, reflected
   on the Debtors’ books and records, as required in accordance with GAAP, but such accruals
   primarily represent general estimates of liabilities and do not represent specific claims as
   of the Petition Date. The Debtors have made reasonable efforts to include as “contingent,”
   “unliquidated,” and/or “disputed” the claim of any party not included on the Debtors’ open
   accounts payable that is associated with an account that has an accrual or receipt not
   invoiced.

   Schedule E/F also contains information regarding pending litigation involving the Debtors.
   In certain instances, the relevant Debtor that is the subject of the litigation is unclear or
   undetermined. To the extent that litigation involving a particular Debtor has been




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       identified, however, such information is included on that Debtor’s Schedule E/F. The
       amounts for these potential claims are listed as undetermined and marked as “contingent,”
       “unliquidated,” and “disputed” in the Schedules.

       As of the Petition Date, the Debtors served approximately 3 million members nationwide.
       In the course of these chapter 11 cases, the Debtors will have provided notice of the general
       bar date to approximately 11.1 million current and former members and approximately 3.5
       million guests. A determination of the amount of any claim that each of the Debtors’ current
       members, former members, and guests may hold would be unduly burdensome and cost
       prohibitive.

       With respect to those 8.000% senior unsecured notes due 2022 issued under that certain
       indenture, dated as of May 30, 2014, the Debtors have listed only the indenture trustee as
       the named creditor on Schedule F. Nonetheless, these notes are beneficially owned by a
       number of other parties.

       As noted in the Global Notes, the Bankruptcy Court has authorized the Debtors to pay, in
       their discretion, certain non-priority unsecured claims pursuant to the First Day Orders. To
       the extent practicable, each Debtor’s Schedule E/F is intended to reflect the balance as of
       the Petition Date, adjusted for post-petition payments made under some or all of the First
       Day Orders. Each Debtor’s Schedule E/F will reflect that Debtor’s payment of certain
       claims pursuant to the First Day Orders, and, to the extent an unsecured claim has been
       paid or may be paid, it is possible such claim is not included on Schedule E/F. Certain
       Debtors may pay additional claims listed on Schedule E/F during these chapter 11 cases
       pursuant to the First Day Orders and other orders of the Bankruptcy Court, and the Debtors
       reserve all of their rights to update Schedule E/F to reflect such payments or to modify the
       claims register to account for the satisfaction of such claims. Additionally, Schedule E/F
       does not include potential rejection damage claims, if any, of the counterparties to
       executory contracts and unexpired leases that may be rejected.

Schedule G

Although reasonable efforts have been made to ensure the accuracy of Schedule G regarding
executory contracts and unexpired leases (collectively, the “Agreements”), the Debtors’ review
process of the Agreements is ongoing, and inadvertent errors, omissions, or over-inclusion may
have occurred. The Debtors may have entered into various other types of Agreements in the
ordinary course of their businesses, such as indemnity agreements, supplemental agreements,
amendments/letter agreements, and confidentiality agreements which may not be set forth in
Schedule G. As stated in the Global Notes, omission of a contract or agreement from Schedule G
does not constitute an admission that such omitted contract or agreement is not an executory
contract or unexpired lease. Schedule G may be amended at any time to add any omitted
Agreement. Likewise, the listing of an Agreement on Schedule G does not constitute an admission
that such Agreement is an executory contract or unexpired lease or that such Agreement was in
effect on the Petition Date or is valid or enforceable. The Agreements listed on Schedule G may
have expired or may have been modified, amended, or supplemented from time to time by various
amendments, restatements, waivers, estoppel certificates, letters and other documents,




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instruments, and agreements that may not be listed on Schedule G. Any and all of the Debtors’
rights, claims, and causes of action with respect to the Agreements listed on Schedule G are hereby
reserved and preserved, and, thus, the Debtors hereby reserve all of their rights to (i) dispute the
validity, status, or enforceability of any Agreements set forth on Schedule G; (ii) dispute or
challenge the characterization of the structure of any transaction or any document or instrument
related to a creditor’s claim, including, but not limited to, the Agreements listed on Schedule G;
and (iii) amend or supplement such Schedule as necessary.

Executory contracts for short-term service orders that are oral in nature have not been included in
Schedule G. Executory contracts that expired between the Petition Date and the filing of these
Schedules are also excluded from Schedule G.

Certain of the Agreements listed on Schedule G may have been entered into by or on behalf of
more than one of the Debtors. Additionally, the specific Debtor obligor(s) to certain of the
Agreements could not be specifically ascertained in every circumstance. In such cases, the Debtors
have made reasonable efforts to identify the correct Debtor’s Schedule G on which to list the
Agreement, and, where a contract party remained uncertain, such Agreement may have been listed
on a different Debtor’s Schedule G.

Schedule H

The Debtors are party to various debt agreements that were executed by multiple Debtors. The
guaranty obligations with respect to the Debtors’ prepetition indebtedness are noted on Schedule
H for each individual Debtor. In the event that two or more Debtors are co-obligors with respect
to a scheduled debt or guaranty, such debt or guaranty is listed in the Schedule and Statement of
each such Debtor at the full amount of such potential claim, and such claim is marked “contingent”
and “unliquidated.”

In the ordinary course of their businesses, the Debtors are involved in pending or threatened
litigation and claims arising out of the conduct of their businesses. Some of these matters may
involve multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
counter-claims against other parties and some or all of whom may have been named as plaintiffs
and defendants inadvertently. Such claims are listed elsewhere in the Schedules, and they have
not been set forth individually on Schedule H.

Except as otherwise indicated, the Debtors have identified the primary Debtor obligor(s) with
respect to their executory contracts, unexpired leases, and other agreements. The Debtors reserve
their rights to amend and supplement the Schedules and Statements to the extent that guarantees
and other secondary liability claims are identified.

No claim set forth on the Schedules and Statements of any Debtor is intended to acknowledge
claims of creditors that are otherwise satisfied or discharged by other Debtors or non-Debtors. To
the extent these Notes include notes specific to Schedules D–G, such Notes also apply to the co-
Debtors listed in Schedule H. The Debtors reserve all of their rights to amend the Schedules to
the extent that additional guarantees are identified or such guarantees are discovered to have
expired or be unenforceable.




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         Specific Notes with Respect to the Debtors’ Statements of Financial Affairs

Part 1, Question 1

The income stated in the Debtors’ response to Question 1 is consistent with the consolidated sales
disclosed in compliance with GAAP.

The Debtors’ fiscal year ends on the last day of each calendar year:

   •   FY 2018: Comprised of 52 weeks ending December 31, 2018.

   •   FY 2019: Comprised of 52 weeks ending December 31, 2019.

   •   Stub Period 2020: Comprised of approximately 23 weeks ending June 14, 2020.

Part 2, Question 3

The obligations of the Debtors are primarily paid by and through 24 Hour Fitness USA, Inc.,
notwithstanding the fact that certain obligations may be obligations of one or more of the affiliated
Debtors.

The payments disclosed in SOFA 3 are based on payments made by the Debtors with payment
dates from March 15, 2020 to June 14, 2020. The Debtors have listed payroll-related amounts in
the aggregate, which includes amounts that were paid to insiders and included in response to
Question 4. Amounts still owed to creditors will appear on the Schedules for each Debtor, as
applicable.

All payments for services of any entities that provided consultation concerning debt counseling or
restructuring services, relief under the Bankruptcy Code, or preparation of a petition in bankruptcy
within one year immediately preceding the Petition Date are listed on Question 11 and are excluded
from Question 3.

Part 2, Question 4

For purposes of the Schedules and Statements, the Debtors define insiders as (a) officers, directors,
and anyone in control of a corporate debtor and their relatives and (b) affiliates of the Debtor and
insiders of such affiliates. Individuals listed in the Statements as insiders have been included for
informational purposes only. The Debtors do not take any position with respect to (i) such
individual’s influence over the control of the Debtors, (ii) the management responsibilities or
functions of such individual, (iii) the decision-making or corporate authority of such individual, or
(iv) whether such individual could successfully argue that he or she is not an insider under
applicable law, including, without limitation, the federal securities laws, or with respect to any
theories of liability or for any other purpose. Thus, the Debtors reserve all rights to dispute whether
someone identified is in fact an “insider” as defined in section 101(31) of the Bankruptcy Code.
For more information regarding each Debtor’s officers and directors, please refer to Question 28
and Question 29 of the Statements.




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Home addresses for directors, former directors, employees, and former employees identified as
insiders have not been included in the Statements for privacy reasons.2 Amounts still owed to
creditors will appear on the Schedules for each of the Debtors, as applicable.

The payroll-related amount shown in response to Question 4, which includes, among other things,
salary, wage, and additional compensation, is a gross amount that does not include reductions for
amounts including employee tax or benefit withholdings. In the ordinary course of business,
certain corporate or personal credit cards may be utilized by insiders to pay for travel and business-
related expenses for various other individuals employed by the Debtors. As it would be unduly
burdensome for the Debtors to analyze which credit card expenses related to those incurred on
behalf of an insider as opposed to another employee (or the Debtors), the Debtors have listed the
aggregate amount paid for such expenses. Amounts still owed to creditors will appear on the
Schedules for each of the Debtors.

Part 2, Question 6

The Debtors incur certain offsets and other similar rights in the ordinary course of business.
Offsets in the ordinary course can result from various items, including, without limitation, billing
discrepancies, overpayments, returns, and other disputes between the Debtors and their club
members, vendors, and contract counterparties. These offsets and other similar rights are
consistent with the ordinary course of business in the Debtors’ industry and are not tracked
separately.

Part 3, Question 7

Actions described in response to Question 7 include, but are not limited to, consumer disputes,
employee matters, and personal injury suits.

The Debtors reserve all of their rights and defenses with respect to any and all listed lawsuits and
administrative proceedings. The listing of such suits and proceedings shall not constitute an
admission by the Debtors of any liabilities or that the actions or proceedings were correctly filed
against the Debtors or any affiliates of the Debtors. The Debtors also reserve their rights to assert
that neither the Debtors nor any affiliate of the Debtors is an appropriate party to such actions or
proceedings. Further, the Debtors operate in numerous jurisdictions and in the ordinary course of
business may have disputed property valuations/tax assessments. The Debtors have not listed such
disputes on Question 7.

Part 4, Question 9

The donations and/or charitable contributions listed in response to this question represent
payments made by the Debtors to third parties during the applicable timeframe that were recorded
as such within the Debtors’ books and records. In addition to the charitable contributions listed
therein, the Debtors may make de minimis gifts or gifts in kind from time to time.


2
    On June 16, 2020, the Bankruptcy Court entered an order granting the Debtors’ motion requesting authority to
    redact the home addresses of the Debtors’ current and former employees. [See Docket No. 119.]




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Part 5, Question 10

The Debtors occasionally incurred losses for a variety of reasons, including theft and property
damage. The Debtors, however, may not have records of all such losses if such losses do not have
a material impact on the Debtors’ business or are not reported for insurance purposes. Accordingly,
in this context, the Debtors have not listed such losses.

Additionally, the Debtors have not listed any losses arising from or related to the COVID-19
pandemic.

Part 6, Question 11

All payments for services of any entities that provided consultation concerning debt counseling or
restructuring services, relief under the Bankruptcy Code, or preparation of a petition in bankruptcy
within one year immediately preceding the Petition Date are listed on the applicable Debtor’s
response to Question 11. Additional information regarding the Debtors’ retention of professional
service firms is more fully described in individual retention applications and related orders. In
addition, the Debtors have listed payments made to professionals retained by the Debtors but not
payments made to advisors of their lenders or other parties.

Part 6, Question 13

The Debtors may, from time to time and in the ordinary course of business, transfer equipment
and other assets and/or sell certain equipment and other assets to third parties. These types of
ordinary course transfers have not been disclosed in Question 13.

Part 9, Question 16

The Debtors collect a limited amount of information from club members and guests, including
personally identifiable information, via their website portals and mobile applications, over the
telephone, or in person in order to provide services to members and guests and inform them of new
products and services. Examples of the types of information collected by the Debtors include,
among other things, mailing addresses, email addresses, phone number, and names. The Debtors
retain such information as long as is necessary for the Debtors to comply with business, tax, and
legal requirements. The Debtors maintain privacy policies and have information security protocols
to safeguard personally identifiable information.

Part 9, Question 17

As of the Petition Date, the Debtors maintained a non-qualified deferred compensation plan (a/k/a
the 24 Hour Fitness USA, Inc. Deferred Compensation Plan) (the “NQDC Plan”). Claims of
participants in the NQDC Plan have been listed with an “unknown” value and designated as
“contingent” and “unliquidated.”

Part 10, Question 18

In the ordinary course of the Debtors’ business, the Debtors are engaged in various financial
instruments, including Letters of Credit that are renewed on a regular basis. Certain accounts or



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instruments that appear to have been “closed” were closed in regard to that particular period but
were renewed for subsequent periods. To the extent the Debtors have any accounts or instruments
that appear to have been closed but were in fact renewed for subsequent years and are continuing
under a present renewal, the Debtors have not included those accounts or instruments in response
to Question 18.

Part 11, Question 21

In the ordinary course of business, the Debtors’ club locations contain items owned by others,
including, but not limited to vending machines and beverage coolers. The Debtors have not
included such items in response to Question 21.

Part 13, Question 26

   a. Question 26(a), (b), and (c).

       In the ordinary course of business, the Debtors retain certain bookkeepers, accountants, or
       other firms or individuals (collectively, “Recipients”) in order to review the Debtors’
       books and records for the purpose of auditing the books and records or preparing financial
       statements. The Debtors have not included members of their management team in response
       to Question 26, given the number of such persons who may have reviewed the Debtors’
       books and records.

       The Debtors do not maintain complete lists to track all persons who may have reviewed
       their books and records and cannot account for the possibility that persons may have
       reviewed the Debtors’ books and records without the Debtors’ knowledge or consent.
       Considering the number of such persons and the possibility that persons may have
       reviewed the Debtors’ books and records without the Debtors’ knowledge or consent, the
       Debtors have not disclosed any such persons for the purposes of Question 26.

   b. Question 26(d).

       The Debtors provided financial statements in the ordinary course of business to certain
       parties for business, statutory, credit, financing, and other reasons. Recipients have
       included regulatory agencies, financial institutions, investment banks, debtholders, and
       their legal and financial advisors. Financial statements have also been provided to other
       parties as requested. The Debtors do not maintain complete lists to track such disclosures
       and cannot account for the possibility that such information may have been shared with
       parties without the Debtors’ knowledge or consent. Considering the number of such
       recipients and the possibility that such information may have been shared with parties
       without the Debtors’ knowledge or consent, the Debtors have not disclosed any parties that
       may have received such financial statements for the purposes of Question 26(d).

Part 13, Question 28

For each entity, the Debtors have included individuals identified as of the Petition Date as
directors, officers, members, or managers, as applicable, of such entity in the Debtors’
recordkeeping systems or, if no individuals were identified, an entity member, as applicable.



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Part 13, Question 29

The disclosures relate specifically to terminated job titles or positions and are not indicative of the
individuals’ current employment status with the Debtors. For each entity, the Debtors have
included the individuals who, during the applicable period, were identified as directors and officers
of such entity in the Debtors’ recordkeeping systems.

Part 13, Question 30

Any and all known disbursements to insiders have been listed in response to Question 4.




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 Fill in this information to identify the case:

 Debtor name          24 Hour Holdings II LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11559
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number

 4.         Other cash equivalents (Identify all)


            4.1.     JPMorgan Classic Business Checking                                                                                                       $0.00




 5.         Total of Part 1.                                                                                                                           $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         24 Hour Holdings II LLC                                                       Case number (If known) 20-11559
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Patents, copyrights, trademarks, and trade
            secrets                                                                    Unknown       N/A                                    Unknown



 61.        Internet domain names and websites
            Internet domain names and websites                                         Unknown       N/A                                    Unknown



 62.        Licenses, franchises, and royalties
            Licenses, franchises, and royalties                                        Unknown       N/A                                    Unknown



 63.        Customer lists, mailing lists, or other compilations
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         24 Hour Holdings II LLC                                                      Case number (If known) 20-11559
                Name

            Customer lists, mailing lists, or other
            compilations                                                               Unknown       N/A                                Unknown



 64.        Other intangibles, or intellectual property
            Other intangibles, or intellectual property                                Unknown       N/A                                Unknown



 65.        Goodwill
            Goodwill                                                                   Unknown       N/A                                Unknown



 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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 Debtor          24 Hour Holdings II LLC                                                                             Case number (If known) 20-11559
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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 Fill in this information to identify the case:

 Debtor name          24 Hour Holdings II LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)              20-11559
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        Morgan Stanley Senior
 2.1                                                                                                                  $843,852,285.52                        $0.00
        Funding, Inc.                                 Describe debtor's property that is subject to a lien
        Creditor's Name
        1300 Thames Street, 4th
        Floor
        Thames Street Wharf
        Baltimore, MD 21231
        Creditor's mailing address                    Describe the lien
                                                      Senior Credit Facility - Term Loan
        Agency.Borrowers@morga                        Is the creditor an insider or related party?
        nstanley.com                                   No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        5/31/18                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Morgan Stanley Senior
 2.2                                                                                                                   $96,035,935.73                        $0.00
        Funding, Inc.                                 Describe debtor's property that is subject to a lien
        Creditor's Name
        1300 Thames Street, 4th
        Floor
        Thames Street Wharf
        Baltimore, MD 21231
        Creditor's mailing address                    Describe the lien
                                                      Senior Credit Facility - Revolver
        Agency.Borrowers@morga                        Is the creditor an insider or related party?
        nstanley.com                                   No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        5/31/18                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2
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 Debtor       24 Hour Holdings II LLC                                                                 Case number (if known)   20-11559
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                           $939,888,221.25
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.


 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         24 Hour Holdings II LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)          20-11559
                                                                                                                                                  Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown            Unknown
           ADAMS COUNTY TREASURER                                    Check all that apply.
           P.O. BOX 869                                               Contingent
           BRIGHTON, CO 80601-0869                                    Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown            Unknown
           ALAMEDA COUNTY TAX                                        Check all that apply.
           COLLECTOR                                                  Contingent
           224 W. WINTON AVE. RM.169                                  Unliquidated
           HAYWARD, CA 94544
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 99
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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ANNE ARUNDEL COUNTY                                        Check all that apply.
          OFFICE OF FINANCE                                           Contingent
          BILLING AND CUSTOMER                                        Unliquidated
          SERVICE
                                                                      Disputed
          ANNAPOLIS, MD 21404-0427
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ARAPAHOE COUNTY                                            Check all that apply.
          TREASURER                                                   Contingent
          P.O. BOX 571                                                Unliquidated
          LITTLETON, CO 80160-0571
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ARIZONA DEPARTMENT OF                                      Check all that apply.
          REVENUE                                                     Contingent
          P.O. BOX 29079                                              Unliquidated
          PHOENIX, AZ 85038-9079
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          AUSTIN POLICE DEPARTMENT                                   Check all that apply.
          PO BOX 689001                                               Contingent
          AUSTIN, TX 78768-9001                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 99
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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          AUSTIN-TRAVIS COUNTY HEALTH                                Check all that apply.
          ENVIRONMENTAL HEALTH                                        Contingent
          SERVICES DIVISION                                           Unliquidated
          AUSTIN, TX 78714
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BEDFORD FIRE DEPARTMENT                                    Check all that apply.
          1816 BEDFORD ROAD                                           Contingent
          BEDFORD, TX 76021                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BEDFORD POLICE DEPARTMENT                                  Check all that apply.
          2121 L DON DODSON DR                                        Contingent
          BEDFORD, TX 76021                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BOULDER COUNTY TREASURER                                   Check all that apply.
          P.O. BOX 471                                                Contingent
          BOULDER, CO 80306                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 99
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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BRAZORIA COUNTY TAX                                        Check all that apply.
          ASSESSOR-COLLECTOR                                          Contingent
          RO'VIN GARRETT RTA                                          Unliquidated
          PO BOX 1586
                                                                      Disputed
          LAKE JACKSON, TX 77566
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BRICK TOWNSHIP                                             Check all that apply.
          401 CHAMBERSBRIDGE RD                                       Contingent
          BRICK, NJ 08723                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BROWARD COUNTY BOARD OF                                    Check all that apply.
          COMMISSIONERS                                               Contingent
          1 NORTH UNIVERSITY DRIVE                                    Unliquidated
          PLANTATION, FL 33324
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BROWARD COUNTY REVENUE                                     Check all that apply.
          COLLECTION                                                  Contingent
          115 S ANDREWS AVENUE #A100                                  Unliquidated
          FT LAUDERDALE, FL 33301-1895
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BUREAU OF CONVEYANCES                                      Check all that apply.
          1151 PUNCHBOWL STREET                                       Contingent
          HONOLULU, HI 96813                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CALIFORNIA FRANCHISE TAX                                   Check all that apply.
          BOARD                                                       Contingent
          PO BOX 942857                                               Unliquidated
          SACRAMENTO, CA 94257-0631
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY & COUNTY OF DENVER                                    Check all that apply.
          201 W. COLFAX AVE                                           Contingent
          DENVER, CO 80202                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY AND COUNTY OF DENVER                                  Check all that apply.
          ALARMS                                                      Contingent
          PO BOX 650781                                               Unliquidated
          DALLAS, TX 75265-0781
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY AND COUNTY OF                                         Check all that apply.
          HONOLULU                                                    Contingent
          HONOLULU HALE                                               Unliquidated
          ROOM 203
                                                                      Disputed
          HONOLULU, HI 96813
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ALLEN                                              Check all that apply.
          UTILITY DEPARTMENT                                          Contingent
          305 CENTURY PARKWAY                                         Unliquidated
          ALLEN, TX 75013
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ALLEN ALARM                                        Check all that apply.
          PROGRAM                                                     Contingent
          305 CENTURY PARKWAY                                         Unliquidated
          ALLEN, TX 75013
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ANAHEIM                                            Check all that apply.
          P.O. BOX 3069                                               Contingent
          ANAHEIM, CA 92803-3069                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ANTIOCH                                            Check all that apply.
          FINANCE DEPARTMENT                                          Contingent
          P.O. BOX 5008                                               Unliquidated
          ANTIOCH, CA 94531-5008
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF APOPKA                                             Check all that apply.
          120 E MAIN STREET                                           Contingent
          APOPKA, FL 32703                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ARCADIA                                            Check all that apply.
          PO BOX 60021                                                Contingent
          ARCADIA, CA 91066-6021                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ARLINGTON                                          Check all that apply.
          NEIGHBORHOOD SERVICES DEPT                                  Contingent
          ARLINGTON, TX 76004-0321                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ARVADA                                             Check all that apply.
          8101 RALSTON ROAD                                           Contingent
          ARVADA, CO 80002                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF AUBURN                                             Check all that apply.
          25 W MAIN STREET                                            Contingent
          AUBURN, WA 98001                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF AURORA                                             Check all that apply.
          1470 S. HAVANA STREET                                       Contingent
          ROOM 120                                                    Unliquidated
          AURORA, CO 80012
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BAYTOWN                                            Check all that apply.
          2401 MARKET ST.                                             Contingent
          BAYTOWN, TX 77520                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BELLEVUE                                           Check all that apply.
          P.O. BOX 34372                                              Contingent
          SEATTLE, WA 98124                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BERKELEY                                           Check all that apply.
          DIVISION 2020 CENTER STREET                                 Contingent
          BERKELEY, CA 94704                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BOULDER                                            Check all that apply.
          PLANNING AND DEVELOPMENT                                    Contingent
          SERVICES                                                    Unliquidated
          PO BOX 791
                                                                      Disputed
          BOULDER, CO 80306
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BOYNTON BEACH                                      Check all that apply.
          PO BOX 31015                                                Contingent
          TAMPA, FL 33631-3015                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BREA                                               Check all that apply.
          1 CIVIC CENTER CIRCLE                                       Contingent
          BREA, CA 92821                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BURBANK                                            Check all that apply.
          PO BOX 6459                                                 Contingent
          BURBANK, CA 91510-6459                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CAMARILLO                                          Check all that apply.
          601 CARMEN DR #6034                                         Contingent
          CAMARILLO, CA 93010                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CARLSBAD                                           Check all that apply.
          5950 EL CAMINO REAL                                         Contingent
          CARLSBAD, CA 92008                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CARSON                                             Check all that apply.
          701 E CARSON STREET                                         Contingent
          CARSON, CA 90745                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CEDAR HILL                                         Check all that apply.
          285 UPTOWN BLVD. BLDG 100                                   Contingent
          CEDAR HILL, TX 75104                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CENTENNIAL                                         Check all that apply.
          PO BOX 17383                                                Contingent
          DENVER, CO 80217-0383                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CERRITOS                                           Check all that apply.
          18125 BLOOMFIELD AVENUE                                     Contingent
          CERRITOS, CA 90703-3130                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CHINO HILLS                                        Check all that apply.
          14000 CITY CENTER DRIVE                                     Contingent
          CHINO HILLS, CA 91709                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CHULA VISTA                                        Check all that apply.
          PO BOX 142588                                               Contingent
          IRVING, TX 75014-2588                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CITRUS HEIGHTS                                     Check all that apply.
          6360 FOUNTAIN SQUARE DRIVE                                  Contingent
          CITRUS HEIGHTS, CA 95621                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF COLORADO SPRINGS                                   Check all that apply.
          SALES TAX DIVISION                                          Contingent
          PO BOX 2408                                                 Unliquidated
          COLORADO SPRINGS, CO
                                                                      Disputed
          80901-2408
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF COMPTON                                            Check all that apply.
          205 S WILLOWBROOK AVE                                       Contingent
          COMPTON, CA 90220                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CONCORD                                            Check all that apply.
          1950 PARKSIDE DR.                                           Contingent
          CONCORD, CA 94519                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CORONA                                             Check all that apply.
          400 S. VICENTIA AVE                                         Contingent
          CORONA, CA 92882                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF COSTA MESA                                         Check all that apply.
          77 FAIR DRIVE                                               Contingent
          COSTA MESA, CA 92628-1200                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CYPRESS                                            Check all that apply.
          5275 ORANGE AVENUE                                          Contingent
          CYPRESS, CA 90360-0609                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF DALLAS                                             Check all that apply.
          1500 MARILLA STREET                                         Contingent
          DALLAS, TX 75201                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF DALY CITY                                          Check all that apply.
          333 - 90TH STREET                                           Contingent
          DALY CITY, CA 94015-1895                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF DOWNEY                                             Check all that apply.
          DEPT LA 23221                                               Contingent
          PASADENA, CA 91185-3221                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF EL CAJON, CA                                       Check all that apply.
          P.O. BOX 511378                                             Contingent
          LOS ANGELES, CA 90051-7933                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF EL CERRITO                                         Check all that apply.
          10890 SAN PABLO AVE                                         Contingent
          EL CERRITO, CA 94530-2392                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ELK GROVE                                          Check all that apply.
          8401 LAGUNA PALMS WAY                                       Contingent
          ELK GROVE, CA 95758                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ENCINITAS                                          Check all that apply.
          505 S. VULCAN AVE                                           Contingent
          ENCINITAS, CA 92024                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ENGLEWOOD                                          Check all that apply.
          REVENUE DIVISION                                            Contingent
          1000 ENGLEWOOD PARKWAY                                      Unliquidated
          ENGLEWOOD, CO 80110
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ESCONDIDO                                          Check all that apply.
          PO BOX 460009                                               Contingent
          ESCONDIDO, CA 92046                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF EVERETT                                            Check all that apply.
          2930 WETMORE AVENUE                                         Contingent
          EVERETT, WA 98201                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FAIRFIELD                                          Check all that apply.
          1000 WEBSTER STREET                                         Contingent
          FAIRFIELD, CA 94533-4883                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FALLS CHURCH                                       Check all that apply.
          300 PARK AVENUE                                             Contingent
          FALLS CHURCH, VA 22046                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FONTANA - BUSINESS                                 Check all that apply.
          LICENSE                                                     Contingent
          8353 SIERRA AVENUE                                          Unliquidated
          FONTANA, CA 92335
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FORT COLLINS                                       Check all that apply.
          215 N MASON ST 2ND FLOOR                                    Contingent
          FORT COLLINS, CO 80524                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FORT WORTH                                         Check all that apply.
          P.O. BOX 99426                                              Contingent
          FORT WORTH, TX 76199-0426                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FREMONT                                            Check all that apply.
          3300 CAPITOL AVE                                            Contingent
          FREMONT, CA 94538                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FREMONT POLICE                                     Check all that apply.
          DEPARTMENT                                                  Contingent
          PO BOX 5007                                                 Unliquidated
          FREMONT, CA 94537-5007
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FRISCO                                             Check all that apply.
          6101 FRISCO SQUARE                                          Contingent
          BOULEVARD                                                   Unliquidated
          FRISCO, TX 75034
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FULLERTON                                          Check all that apply.
          303 W. COMMONWEALTH AVE.                                    Contingent
          FULLERTON, CA 92832                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GARDEN GROVE                                       Check all that apply.
          11222 ACACIA PARKWAY                                        Contingent
          GARDEN GROVE, CA 92840                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GLADSTONE                                          Check all that apply.
          ALARMS                                                      Contingent
          GLADSTONE, OR 97027                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GLENARDEN                                          Check all that apply.
          8600 GLENARDEN PARKWAY                                      Contingent
          GLENARDEN, MD 20706-1522                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GLENDORA                                           Check all that apply.
          8839 N CEDAR AVE                                            Contingent
          FRESNO, CA 93720                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GRAND PRAIRIE                                      Check all that apply.
          300 WEST MAIN ST.                                           Contingent
          GRAND PRAIRIE, TX 75050                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GREENACRES                                         Check all that apply.
          5800 MELALEUCA LANE                                         Contingent
          GREENACRES, FL 33463                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GRESHAM OREGON                                     Check all that apply.
          1333 NW EASTMAN PARKWAY                                     Contingent
          GRESHAM, OR 97030                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HAPPY VALLEY                                       Check all that apply.
          16000 SE MISTY DRIVE                                        Contingent
          HAPPY VALLEY, OR 97086-6299                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HAWAIIAN GARDENS                                   Check all that apply.
          ATTN: BLDG & SAFETY DIV.                                    Contingent
          21815 PIONEER BLVD                                          Unliquidated
          HAWAIIAN GARDENS, CA 90716
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HAWTHORNE                                          Check all that apply.
          4455 W. 126TH STREET                                        Contingent
          HAWTHORNE, CA 90250                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HAYWARD                                            Check all that apply.
          777 B STREET HAYWARD                                        Contingent
          HAYWARD, CA 94541-5007                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HENDERSON                                          Check all that apply.
          P.O. BOX 95050                                              Contingent
          HENDERSON, NV 89009-5050                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HERMOSA BEACH                                      Check all that apply.
          1315 VALLEY DRIVE                                           Contingent
          HERMOSA BEACH, CA 90254                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HILLSBORO                                          Check all that apply.
          150 E. MAIN STREET                                          Contingent
          HILLSBORO, OR 97213                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HOUSTON                                            Check all that apply.
          P.O. BOX 300008                                             Contingent
          HOUSTON, TX 77230-0008                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HOUSTON FIRE                                       Check all that apply.
          DEPARTMENT                                                  Contingent
          901 BAGBY                                                   Unliquidated
          HOUSTON, TX 77002
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HOUSTON POLICE                                     Check all that apply.
          DEPARTMENT                                                  Contingent
          PO BOX 741009                                               Unliquidated
          HOUSTON, TX 77274
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HUNTINGTON BEACH                                   Check all that apply.
          2000 MAIN STREET                                            Contingent
          HUNTINGTON BEACH, CA 92648                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF INDIO                                              Check all that apply.
          100 CIVIC CENTER MALL                                       Contingent
          INDIO, CA 92201                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF IRVINE                                             Check all that apply.
          P.O. BOX 19575                                              Contingent
          IRVINE, CA 92623-9575                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF IRVING                                             Check all that apply.
          P.O. BOX 152288                                             Contingent
          IRVING, TX 75015-2288                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ISSAQUAH                                           Check all that apply.
          PO BOX 1307                                                 Contingent
          ISSAQUAH, WA 98027-1307                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF JACINTO CITY                                       Check all that apply.
          1301 MERCURY DRIVE                                          Contingent
          HOUSTON, TX 77029                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF KENT                                               Check all that apply.
          400 WEST GOWE                                               Contingent
          KENT, WA 98032                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF KENT                                               Check all that apply.
          220 FOURTH AVE. S.                                          Contingent
          KENT, WA 98032-5895                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LA MIRADA                                          Check all that apply.
          13700 LA MIRADA BOULEVARD                                   Contingent
          LA MIRADA, CA 90638                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LAFAYETTE                                          Check all that apply.
          REVENUE DIVISION                                            Contingent
          1290 S. PUBLIC RD                                           Unliquidated
          LAFAYETTE, CO 80026
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LAKE MARY                                          Check all that apply.
          911 WALLACE COURT                                           Contingent
          LAKE MARY, FL 32746                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LAKEWOOD                                           Check all that apply.
          SALES/USE TAX RETURN                                        Contingent
          P.O. BOX 261450                                             Unliquidated
          LAKEWOOD, CO 80226-9450
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LANCASTER                                          Check all that apply.
          8839 N CEDAR AVE #212                                       Contingent
          FRESNO, CA 93720                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LARKSPUR                                           Check all that apply.
          438 EAST SHAW AVE                                           Contingent
          FRESNO, CA 93710                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LAS VEGAS                                          Check all that apply.
          DEPT OF PLANNING BUSINESS                                   Contingent
          LICENSING                                                   Unliquidated
          LOS ANGELES, CA 90074-8018
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LITTLETON                                          Check all that apply.
          2255 W BERRY AVE                                            Contingent
          LITTLETON, CO 80165-0002                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LIVERMORE                                          Check all that apply.
          1052 S. LIVERMORE AVE                                       Contingent
          LIVEMORE, CA 94550-4899                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LONG BEACH                                         Check all that apply.
          411 W. OCEAN BLVD                                           Contingent
          LONG BEACH, CA 90802                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LONG BEACH                                         Check all that apply.
          333 W. OCEAN BOULEVARD                                      Contingent
          LONG BEACH, CA 90802                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LOS ANGELES                                        Check all that apply.
          PO BOX 30749                                                Contingent
          LOS ANGELES, CA 90030-0749                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MANHATTAN BEACH                                    Check all that apply.
          1400 HIGHLAND AVENUE                                        Contingent
          MANHATTAN BEACH, CA 90266                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MANTECA                                            Check all that apply.
          1001 W. CENTER ST.                                          Contingent
          MANTECA, CA 95337                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MESQUITE                                           Check all that apply.
          POLICE DEPARTMENT                                           Contingent
          PO BOX 850137                                               Unliquidated
          MESQUITE, TX 75185-0137
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MIAMI                                              Check all that apply.
          444 SW 2ND AVE                                              Contingent
          MIAMI, FL 33130                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MILLBRAE                                           Check all that apply.
          621 MAGNOLIA AVE                                            Contingent
          MILLBRAE, CA 94030                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MILPITAS                                           Check all that apply.
          455 E. CALAVERAS BLVD.                                      Contingent
          MILPITAS, CA 95035                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MIRAMAR                                            Check all that apply.
          14801 SW 27TH. STREET                                       Contingent
          MIAMI, FL 33027                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MONROVIA                                           Check all that apply.
          415 S. IVY AVE.                                             Contingent
          MONROVIA, CA 91016-2888                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MONTCLAIR                                          Check all that apply.
          5111 BENITO STREET                                          Contingent
          MONTCLAIR, CA 91763                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MONTEREY PARK                                      Check all that apply.
          320 WEST NEWMARK AVE.                                       Contingent
          MONTEREY PARK, CA 91754                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MORENO VALLEY                                      Check all that apply.
          PO BOX 88005                                                Contingent
          MORENO VALLEY, CA 92552-0805                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MORGAN HILL                                        Check all that apply.
          17575 PEAK AVENUE                                           Contingent
          MORGAN HILL, CA 95037                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MOUNTAIN VIEW                                      Check all that apply.
          P.O. BOX 60000                                              Contingent
          SAN FRANCSICO, CA 94160-3015                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MURPHY                                             Check all that apply.
          206 N. MURPHY RD                                            Contingent
          MURPHY, TX 75094                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MURRIETA                                           Check all that apply.
          24601 JEFFERSON AVE                                         Contingent
          MURRIETA, CA 92562                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF NEWARK                                             Check all that apply.
          920 BROAD STREET                                            Contingent
          NEWARK, NJ 07102                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF NORTH LAS VEGAS                                    Check all that apply.
          P.O. BOX 4146                                               Contingent
          NORTH LAS VEGAS, NV                                         Unliquidated
          89036-4146
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF NORTH RICHLAND HILLS                               Check all that apply.
          4301 CITY POINT DRIVE                                       Contingent
          NORTH RICHLAND HILLS, TX                                    Unliquidated
          76180
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF OAKLAND                                            Check all that apply.
          250 FRANK H OGAWA PLAZA,                                    Contingent
          SUITE 3341                                                  Unliquidated
          OAKLAND, CA 94612
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF OCEANSIDE                                          Check all that apply.
          300 NORTH COAST HWY                                         Contingent
          OCEANSIDE, CA 92054                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF OLYMPIA                                            Check all that apply.
          PO BOX 2009                                                 Contingent
          OLYMPIA, WA 98507                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ONTARIO                                            Check all that apply.
          303 EAST B STREET                                           Contingent
          ONTARIO, CA 91764                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ORANGE                                             Check all that apply.
          300 E. CHAPMAN AVE                                          Contingent
          ORANGE, CA 92866                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ORLANDO                                            Check all that apply.
          400 SOUTH ORANGE AVE 1ST                                    Contingent
          FLOOR                                                       Unliquidated
          ORLANDO, FL 32802-4990
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF OXNARD                                             Check all that apply.
          300 WEST 3RD ST.                                            Contingent
          OXNARD, CA 93030-5712                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PACIFICA                                           Check all that apply.
          FIRE PREVENTION BUREAU                                      Contingent
          DALY CITY, CA 94015                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PALMDALE                                           Check all that apply.
          38300 SIERRA HIGHWAY                                        Contingent
          PALMDALE, CA 93550                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PASADENA                                           Check all that apply.
          100 NORTH GARFIELD AVE                                      Contingent
          PASADENA, CA 91109-7215                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PEMBROKE PINES                                     Check all that apply.
          4TH FLOOR LBTR DIV                                          Contingent
          PEMBROKE PINES, FL 33025                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PETALUMA                                           Check all that apply.
          11 ENGLISH ST                                               Contingent
          PETALUMA, CA 94952                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PFLUGERVILLE                                       Check all that apply.
          100 E. MAIN ST                                              Contingent
          PFLUGERVILLE, TX 78660                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PORTLAND                                           Check all that apply.
          111 SW COLUMBIA ST., STE. 600                               Contingent
          PORTLAND, OR 97201-5840                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RANCHO CORDOVA                                     Check all that apply.
          2729 PROSPECT PARK DRIVE                                    Contingent
          RANCHO CORDOVA, CA 95670                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF REDLANDS                                           Check all that apply.
          35 CAJON ST. SUITE 15B                                      Contingent
          REDLANDS, CA 92373                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF REDWOOD CITY                                       Check all that apply.
          1017 MIDDLEFIELD ROAD                                       Contingent
          REDWOOD CITY, CA 94063                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RENO                                               Check all that apply.
          1 E. FIRST STREET                                           Contingent
          PO BOX 1900                                                 Unliquidated
          RENO, NV 89505
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RENTON                                             Check all that apply.
          1055 SOUTH GRADY WAY                                        Contingent
          RENTON, WA 98055                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RIALTO                                             Check all that apply.
          150 S. PALM AVENUE                                          Contingent
          RIALTO, CA 92376                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RICHARDSON HEALTH                                  Check all that apply.
          DIST.                                                       Contingent
          411 W. ARAPAHO RD                                           Unliquidated
          RICHARDSON, TX 75080-4551
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RICHMOND                                           Check all that apply.
          450 CIVIC CENTER PLAZA                                      Contingent
          RICHMOND, CA 94804                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RIVERSIDE BLDG &                                   Check all that apply.
          SAFETY                                                      Contingent
          3900 MAIN ST                                                Unliquidated
          RIVERSIDE, CA 92522
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ROCKWALL ALARM                                     Check all that apply.
          PROGRAM                                                     Contingent
          385 S. GOLIAD                                               Unliquidated
          ROCKWALL, TX 75087
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ROHNERT PARK                                       Check all that apply.
          130 AVRAM AVENUE                                            Contingent
          ROHNERT PARK, CA 94928-1180                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.151    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SACRAMENTO                                         Check all that apply.
          915 I STREET                                                Contingent
          SACRAMENTO, CA 95814                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.152    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN BERNARDINO                                     Check all that apply.
          P.O. BOX 1318                                               Contingent
          SAN BERNARDINO, CA 92418                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.153    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN CARLOS                                         Check all that apply.
          600 ELM STREET                                              Contingent
          SAN CARLOS, CA 94070                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.154    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN CLEMENTE                                       Check all that apply.
          SAN CLEMENTE CITY HALL                                      Contingent
          910 CALLE NEGOCIO                                           Unliquidated
          SAN CLEMENTE, CA 92673
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.155    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN DIEGO                                          Check all that apply.
          BUSINESS TAX PROGRAM                                        Contingent
          SAN DIEGO, CA 92112-2289                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.156    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN JOSE TREASURER                                 Check all that apply.
          FINANCE DEPARTMENT                                          Contingent
          200 E. SANTA CLARA ST.                                      Unliquidated
          SAN JOSE, CA 95113
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.157    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN LEANDRO                                        Check all that apply.
          CIVIC CENTER, 835 E. 14TH                                   Contingent
          STREET                                                      Unliquidated
          SAN LEANDRO, CA 94577
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.158    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN MARCOS                                         Check all that apply.
          SAN MARCOS CITY HALL                                        Contingent
          1 CIVIC CENTER DRIVE                                        Unliquidated
          SAN MARCOS, CA 92069
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.159    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN MATEO                                          Check all that apply.
          330 W. 20TH AVE.                                            Contingent
          SAN MATEO, CA 94403-1388                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.160    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN RAMON                                          Check all that apply.
          7000 BOLLINGER CANYON RD                                    Contingent
          SAN RAMON, CA 94583                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.161    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA ANA                                          Check all that apply.
          20 CIVIC CENTER PLAZA                                       Contingent
          SANTA ANA, CA 92702-1964                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.162    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA BARBARA                                      Check all that apply.
          735 ANACAPA STREET                                          Contingent
          SANTA BARBARA, CA 93102                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.163    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA CRUZ                                         Check all that apply.
          FINANCE DEPARTMENT                                          Contingent
          809 CENTER STREET, ROOM 8                                   Unliquidated
          SANTA CRUZ, CA 95060
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.164    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA FE SPRINGS                                   Check all that apply.
          11710 TELEGRAPH ROAD                                        Contingent
          SANTA FE SPRINGS, CA                                        Unliquidated
          90670-3679
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.165    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA MONICA                                       Check all that apply.
          P O BOX 2200                                                Contingent
          SANTA MONICA, CA 90407-2200                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.166    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA ROSA                                         Check all that apply.
          2373 CIRCADIAN WAY                                          Contingent
          SANTA ROSA, CA 95407                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.167    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTEE                                             Check all that apply.
          10601 MAGNOLIA AVE                                          Contingent
          SANTEE, CA 92071-1266                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.168    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SEATTLE                                            Check all that apply.
          P.O. BOX 34905                                              Contingent
          SEATTLE, WA 98124-1905                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.169    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SHORELINE                                          Check all that apply.
          17500 MIDVALE AVE N                                         Contingent
          SHORELINE, WA 98133                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.170    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SIMI VALLEY                                        Check all that apply.
          SIMI VALLEY CITY HALL                                       Contingent
          2929 TAPO CANYON ROAD                                       Unliquidated
          SIMI VALLEY, CA 93062
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.171    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF STOCKTON                                           Check all that apply.
          425 N. EL DORADO ST                                         Contingent
          STOCKTON, CA 95201-9005                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.172    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF STOCKTON - FINAR                                   Check all that apply.
          P.O. BOX 2107                                               Contingent
          STOCKTON, CA 95201                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.173    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SUNNYVALE                                          Check all that apply.
          ATTN: CRIME PREVENTION UNIT                                 Contingent
          SUNNYVALE, CA 94088-3707                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.174    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SUNRISE                                            Check all that apply.
          10770 WEST OAKLAND PARK                                     Contingent
          BOULEVARD                                                   Unliquidated
          SUNRISE, FL 33631
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.175    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TACOMA WASHINGTON                                  Check all that apply.
          747 MARKET ST                                               Contingent
          ROOM 246                                                    Unliquidated
          TACOMA, WA 98402
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.176    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TAYLORSVILLE                                       Check all that apply.
          2600 TAYLORSVILLE BLVD.                                     Contingent
          TAYLORSVILLE, UT 84118                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.177    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TEMECULA                                           Check all that apply.
          41000 MAIN STREET                                           Contingent
          TEMECULA, CA 92589                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.178    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF THORNTON                                           Check all that apply.
          SALES TAX DIVISION                                          Contingent
          9500 CIVIC CENTER DR                                        Unliquidated
          THORNTON, CO 80229-4326
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.179    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF THOUSAND OAKS                                      Check all that apply.
          2100 THOUSAND OAKS BLVD                                     Contingent
          THOUSAND OAKS, CA 91362-2903                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.180    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TIGARD                                             Check all that apply.
          8777 SW BURNHAM STREET                                      Contingent
          TIGARD, OR 97281                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.181    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TORRANCE                                           Check all that apply.
          3031 TORRANCE BLVD                                          Contingent
          TORRANCE, CA 90503                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.182    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TUALATIN, OR                                       Check all that apply.
          18880 SW MARTINAZZI AVE                                     Contingent
          TUALATIN, OR 97062-7099                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.183    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF VALLEJO                                            Check all that apply.
          555 SANTA CLARA STREET                                      Contingent
          VALLEJO, CA 94590-5934                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.184    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF VANCOUVER                                          Check all that apply.
          2323 GENERAL ANDERSON                                       Contingent
          AVENUE                                                      Unliquidated
          PO BOX 8875
                                                                      Disputed
          VANCOUVER, WA 98666
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.185    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF VENTURA                                            Check all that apply.
          PUBLIC COUNTER ROOM 117                                     Contingent
          VENTURA, CA 93002                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.186    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF VISTA                                              Check all that apply.
          200 CIVIC CENTER DRIVE                                      Contingent
          VISTA, CA 92084                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.187    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF WALNUT                                             Check all that apply.
          8839 N. CEDAR AVE.                                          Contingent
          FRESNO, CA 93720                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.188    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF WEST HOLLYWOOD                                     Check all that apply.
          8300 SANTA MONICA                                           Contingent
          BOULEVARD                                                   Unliquidated
          WEST HOLLYWOOD, CA 90069
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.189    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF WESTMINSTER                                        Check all that apply.
          FINANCE DEPT SALES TAX                                      Contingent
          DIVISION                                                    Unliquidated
          4800 WEST 92ND AVENUE
                                                                      Disputed
          WESTMINISTER, CO 80031-6387
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.190    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF WHITTIER                                           Check all that apply.
          13230 PENN STREET                                           Contingent
          WHITTIER, CA 90602                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.191    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF YONKERS                                            Check all that apply.
          CITY CLERK'S OFFICE                                         Contingent
          40 SOUTH BROADWAY                                           Unliquidated
          YONKERS, NY 10701
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.192    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF YORBA LINDA                                        Check all that apply.
          P.O. BOX 87014                                              Contingent
          YORBA LINDA, CA 92885-8714                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.193    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OFVICTORVILLE                                         Check all that apply.
          14343 CIVIC DRIVE                                           Contingent
          PO BOX 5001                                                 Unliquidated
          VICTORVILLE, CA 92392-2399
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.194    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY TREASURER                                             Check all that apply.
          1200 THIRD AVE., SUITE 100                                  Contingent
          SAN DIEGO, CA 92187                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.195    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLACKAMAS COUNTY                                           Check all that apply.
          2051 KAEN RD                                                Contingent
          OREGON CITY, OR 97045                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.196    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLACKAMAS COUNTY SHERIFF                                   Check all that apply.
          2223 S. KAEN ROAD                                           Contingent
          OREGON CITY, OR 97045                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.197    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLACKAMAS COUNTY TAX                                       Check all that apply.
          COLLECTOR                                                   Contingent
          168 WARNER-MILNE ROAD                                       Unliquidated
          OREGON CITY, OR 97045-4098
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.198    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLARK COUNTY DEPT. OF                                      Check all that apply.
          BUSINESS LICENSE                                            Contingent
          500 S GRAND CENTRAL PKWY                                    Unliquidated
          3RD FLOOR
                                                                      Disputed
          LAS VEGAS, NV 89155-1810
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.199    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLARK COUNTY HEALTH DEPT.                                  Check all that apply.
          1601 E FOURTH PLAIN BLVD.,                                  Contingent
          BLDG 17                                                     Unliquidated
          VANCOUVER, WA 98666-8825
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.200    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLARK COUNTY TREASURER                                     Check all that apply.
          500 S. GRAND CENTRAL PKWY,                                  Contingent
          1ST FLR                                                     Unliquidated
          P.O. BOX 551220
                                                                      Disputed
          LAS VEGAS, NV 89155-1220
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.201    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLARK COUNTY WATER                                         Check all that apply.
          RECLAMATION DISTRICT                                        Contingent
          5857 E FLAMINGO ROAD                                        Unliquidated
          LAS VEGAS, NV 89122
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.202    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLEAR LAKE CITY W.A.                                       Check all that apply.
          900 BAY AREA BLVD.                                          Contingent
          HOUSTON, TX 77586                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.203    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COLORADO BOILER INSPECTION                                 Check all that apply.
          BRANCH                                                      Contingent
          P.O. BOX 628                                                Unliquidated
          DENVER, CO 80201-0628
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.204    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COLORADO DEPARTMENT OF                                     Check all that apply.
          REVENUE                                                     Contingent
          STATE OF COLORADO                                           Unliquidated
          DEPARTMENT OF REVENUE
                                                                      Disputed
          DENVER, CO 80261-0013
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.205    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COMMONWEALTH OF VIRGINIA                                   Check all that apply.
          STATE CORPORATION                                           Contingent
          COMMISSION                                                  Unliquidated
          MERRIFIELD, VA 22116-7607
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.206    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COMPTROLLER OF MARYLAND                                    Check all that apply.
          PO BOX 17405                                                Contingent
          BALTIMORE, MD 21297-1405                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.207    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CONTRA COSTA COUNTY                                        Check all that apply.
          651 PINE STREET                                             Contingent
          MARTINEZ, CA 94553                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.208    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CONTRA COSTA COUNTY FIRE                                   Check all that apply.
          DISTRICT                                                    Contingent
          PERMIT DIVISION                                             Unliquidated
          PLEASANT HILL, CA 94523
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.209    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CONTRA COSTA COUNTY TAX                                    Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 631                                                Unliquidated
          MARTINEZ, CA 94553
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.210    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF ALAMEDA                                          Check all that apply.
          ENVIRONMENTAL SERVICES                                      Contingent
          P.O. BOX N                                                  Unliquidated
          ALAMEDA, CA 94501-0108
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.211    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF LOS ANGELES                                      Check all that apply.
          PO BOX 54978                                                Contingent
          LOS ANGELES, CA 90054-0978                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.212    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF RIVERSIDE                                        Check all that apply.
          P.O. BOX 1089                                               Contingent
          RIVERSIDE, CA 92502-3012                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.213    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SACRAMENTO                                       Check all that apply.
          10590 ARMSTRONG AVENUE                                      Contingent
          MATHER, CA 95655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.214    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SAN BERNARDINO                                   Check all that apply.
          1ST FLOOR                                                   Contingent
          SAN BERNARDINO, CA                                          Unliquidated
          92415-0187
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.215    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SAN DIEGO                                        Check all that apply.
          WEIGHTS & MEASURES                                          Contingent
          SAN DIEGO, CA 92123                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.216    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SANTA BARBARA                                    Check all that apply.
          2125 S. CENTERPOINTE                                        Contingent
          PARKWAY, STE 333                                            Unliquidated
          SANTA MARIA, CA 93455
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.217    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SANTA CRUZ                                       Check all that apply.
          701 OCEAN ST.RM. 312                                        Contingent
          SANTA CRUZ, CA 95060                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.218    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SONOMA                                           Check all that apply.
          625 5TH STREET                                              Contingent
          SANTA ROSA, CA 95404                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.219    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF VENTURA                                          Check all that apply.
          800 S VICTORIA AVE                                          Contingent
          VENTURA, CA 93009-1730                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.220    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY ROAD PROPERTIES                                     Check all that apply.
                                                                      Contingent
          0, CA                                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.221    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DALLAS COUNTY TAX                                          Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 139006                                             Unliquidated
          DALLAS, TX 75313-9066
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.222    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DENTON COUNTY                                              Check all that apply.
          STEVE MOSSMAN                                               Contingent
          PO BOX 90223                                                Unliquidated
          DENTON, TX 76202
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.223    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DENVER FIRE DEPARTMENT                                     Check all that apply.
          745 W. COLFAX AVE.                                          Contingent
          DENVER, CO 80204                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.224    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DEPARTMENT OF HEALTH                                       Check all that apply.
          33 N CENTRAL AVENUE                                         Contingent
          RAMSEY, NJ 07446                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.225    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DEPARTMENT OF PUBLIC                                       Check all that apply.
          HEALTH                                                      Contingent
          1390 MARKET STREET                                          Unliquidated
          SUITE 210
                                                                      Disputed
          SAN FRANCISCO, CA 94102
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.226    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DEPT. OF CONSUMER &                                        Check all that apply.
          BUSINESS SERVICES                                           Contingent
          P.O. BOX 14610                                              Unliquidated
          SALEM, OR 97309-0445
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.227    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DEPT. OF LABOR & INDUSTRIAL                                Check all that apply.
          RELATIONS                                                   Contingent
          830 PUNCHBOWL STREET, ROOM                                  Unliquidated
          423
                                                                      Disputed
          HONOLULU, HI 96813
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.228    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DOUGLAS COUNTY TREASURER                                   Check all that apply.
          PO BOX 1208                                                 Contingent
          100 THIRD STREE, SUITE 120                                  Unliquidated
          CASTLE ROCK, CO 90104
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.229    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          EL PASO COUNTY                                             Check all that apply.
          1675 W Garden of the Gods Road,                             Contingent
          Ste 2044                                                    Unliquidated
          COLORADO SPRINGS, CO 80907
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.230    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          EL PASO COUNTY TREASURER                                   Check all that apply.
          P.O. BOX 2018                                               Contingent
          COLORADO SPRINGS, CO                                        Unliquidated
          80901-2018
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.231    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FAIRFAX COUNTY                                             Check all that apply.
          FALSE ALARM REDUCTION UNIT                                  Contingent
          4100 CHAIN BRIDGE ROAD                                      Unliquidated
          FAIRFAX, VA 22030
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.232    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FINANCE DEPARTMENT -                                       Check all that apply.
          SEATTLE                                                     Contingent
          ATTN: ACCOUNTS RECEIVABLE                                   Unliquidated
          SEATTLE, WA 98124-4996
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.233    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FLORIDA DEPARTMENT OF                                      Check all that apply.
          HEALTH                                                      Contingent
          1001 EXECUTIVE CENTER DRIVE                                 Unliquidated
          ORLANDO, FL 32803
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.234    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FLORIDA DEPARTMENT OF                                      Check all that apply.
          REVENUE                                                     Contingent
          5050 W. TENNESSEE ST                                        Unliquidated
          TALLAHASSEE, FL 32399-0128
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.235    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FLORIDA DEPT OF AGRICULTURE                                Check all that apply.
          & CONSUMER                                                  Contingent
          PO BOX 6700                                                 Unliquidated
          TALLAHASSEE, FL 32314-6700
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.236    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FORT BEND COUNTY MUD # 161                                 Check all that apply.
          12841 CAPRICORN STREET                                      Contingent
          STAFFORD, TX 77477                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.237    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FORT BEND COUNTY MUD # 167                                 Check all that apply.
          11500 NW FREEWAY                                            Contingent
          STE 465                                                     Unliquidated
          HOUSTON, TX 77092
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.238    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FORT BEND COUNTY TAX                                       Check all that apply.
          ASSESSOR                                                    Contingent
          TAX ASSESSOR-COLLECTOR                                      Unliquidated
          P.O. BOX 1028
                                                                      Disputed
          SUGARLAND, TX 77487-1028
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.239    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          GALVESTON CO TAX                                           Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 4902                                               Unliquidated
          HOUSTON, TX 77210-4902
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.240    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          GALVESTON COUNTY HEALTH                                    Check all that apply.
          DISTRICT                                                    Contingent
          9850-A EMMETT F LOWRY EXPY                                  Unliquidated
          A108
                                                                      Disputed
          TEXAS CITY, TX 77591
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.241    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY ALARM DETAIL                                 Check all that apply.
          9418 JENSEN DR A                                            Contingent
          HOUSTON, TX 77093                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.242    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY MUD #132                                     Check all that apply.
          11111 KATY FREEWAY, STE 725                                 Contingent
          HOUSTON, TX 77079-2197                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.243    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY MUD #186                                     Check all that apply.
          11111 KATY FWY #725                                         Contingent
          HOUSTON, TX 77079-2197                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.244    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY MUD #275 TAX                                 Check all that apply.
          P.O. BOX 73109                                              Contingent
          HOUSTON, TX 77273                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.245    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY TAX                                          Check all that apply.
          ASSESSOR-COLLECTOR                                          Contingent
          P.O. BOX 4622                                               Unliquidated
          HOUSTON, TX 77210-4622
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.246    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY TREASURER                                    Check all that apply.
          PO BOX 4049                                                 Contingent
          HOUSTON, TX 77210-4049                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.247    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY WCID #145                                    Check all that apply.
          11111 KATY FWY #725                                         Contingent
          HOUSTON, TX 77079-2197                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.248    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HAWAII STATE TAX COLLECTOR                                 Check all that apply.
          OAHU DISTRICT OFFICE                                        Contingent
          PO BOX 1425                                                 Unliquidated
          HONOLULU, HI 96806-1425
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.249    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HOUSTON DEPT OF HEALTH &                                   Check all that apply.
          HUMAN SERVICES                                              Contingent
          P.O. BOX 300008                                             Unliquidated
          HOUSTON, TX 77230-0008
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.250    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          JEFFERSON COUNTY                                           Check all that apply.
          TREASURER                                                   Contingent
          100 JEFFERSON COUNTY PKWY.                                  Unliquidated
          P.O. BOX 4007
                                                                      Disputed
          GOLDEN, CO 80401-0007
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.251    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          JERSEY CITY                                                Check all that apply.
          DR MARTIN LUTHER KING JR                                    Contingent
          CITY HALL ANNEX                                             Unliquidated
          JERSEY CITY, NJ 07305
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.252    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          KANSAS SECRETARY OF STATE                                  Check all that apply.
          120 SW 10TH AVENUE                                          Contingent
          TOPEKA, KS 66612-1240                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.253    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          KERN COUNTY                                                Check all that apply.
          PAYMENT CENTER                                              Contingent
          PO BOX 541004                                               Unliquidated
          LOS ANGELES, CA 90054-1004
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.254    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          KERN, COUNTY OF                                            Check all that apply.
          2700 M STREET, SUITE 300                                    Contingent
          BAKERSFIELD, CA 93301                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.255    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          KIMZAY OF FLORIDA INC                                      Check all that apply.
          P.O. BOX 62045                                              Contingent
          NEWARK, NJ 07101                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.256    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          KING COUNTY TREASURY                                       Check all that apply.
          500 4TH AVENUE, #600                                        Contingent
          SEATTLE, WA 98104-2340                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.257    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          L.A. COUNTY AGRIC.                                         Check all that apply.
          P.O. BOX 512399                                             Contingent
          LOS ANGELES, CA 90051-0399                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.258    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          L.A. COUNTY TREASURER                                      Check all that apply.
          KENNETH HAHN HALL OF                                        Contingent
          ADMINISTRATION                                              Unliquidated
          LOS ANGELES, CA 90054
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.259    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          LARIMER COUNTY TREASURER                                   Check all that apply.
          200 W OAK STREET FLOOR #2                                   Contingent
          PO BOX 1250                                                 Unliquidated
          FORT COLLINS, CO 80522
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.260    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          LOS ANGELES COUNTY FIRE                                    Check all that apply.
          DEPARTMENT                                                  Contingent
          1320 N EASTERN AVE                                          Unliquidated
          LOS ANGELES, CA 90063
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.261    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          LOS ANGELES COUNTY TAX                                     Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 513191                                             Unliquidated
          LOS ANGELES, CA 90051-1191
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.262    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MARIN COUNTY TAX COLLECTOR                                 Check all that apply.
          P.O. BOX 4220                                               Contingent
          SAN RAFAEL, CA 94913-4220                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.263    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MARION COUNTY                                              Check all that apply.
          3180 CENTER STREET NE # 2274                                Contingent
          SALEM, OR 97301                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.264    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MARION COUNTY SHERIFF'S                                    Check all that apply.
          OFFICE                                                      Contingent
          P.O. BOX 14500                                              Unliquidated
          SALEM, OR 97309
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.265    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MARION COUNTY TAX                                          Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 3416                                               Unliquidated
          PORTLAND, OR 97208-3416
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.266    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MARYLAND SECRETARY OF                                      Check all that apply.
          STATE                                                       Contingent
          16 FRANCIS STREET                                           Unliquidated
          ANNAPOLIS, MD 21401
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.267    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MIAMI DADE COUNTY                                          Check all that apply.
          FINANCE UNIT BOILER SECTION                                 Contingent
          11805 SW 26TH STREET                                        Unliquidated
          MIAMI, FL 33175-2474
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.268    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MONTGOMERY CO. TAX                                         Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 4798                                               Unliquidated
          HOUSTON, TX 77210-4798
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.269    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MONTGOMERY COUNTY ALARM                                    Check all that apply.
          DETAIL                                                      Contingent
          1ST FLOOR                                                   Unliquidated
          CONROE, TX 77301
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.270    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MONTGOMERY COUNTY MUD #60                                  Check all that apply.
          PO BOX 4901                                                 Contingent
          HOUSTON, TX 77210-4901                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.271    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MORAGA ORINDA FIRE DISTRICT                                Check all that apply.
          1280 MORAGA WAY                                             Contingent
          MORAGA, CA 94556                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.272    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MULTNOMAH COUNTY                                           Check all that apply.
          847 NE 19TH AVE SUITE 350                                   Contingent
          PORTLAND, OR 97232                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.273    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MULTNOMAH COUNTY TAX                                       Check all that apply.
          COLLECTOR                                                   Contingent
          PO BOX 2716                                                 Unliquidated
          PORTLAND, OR 97208-2716
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.274    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MURRAY CITY                                                Check all that apply.
          4646 SOUTH 500 WEST                                         Contingent
          MURRAY, UT 84123                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.275    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          N.W. HARRIS COUNTY MUD #21                                 Check all that apply.
          11111 KATY FREEWAY #725                                     Contingent
          HOUSTON, TX 77079-2197                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.276    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NASSAU COUNTY DEPARTMENT                                   Check all that apply.
          OF HEALTH                                                   Contingent
          200 COUNTY SEAT DR                                          Unliquidated
          MINEOLA, NY 11501
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.277    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NASSAU COUNTY TREASURER                                    Check all that apply.
          1194 PROSPECT AVENUE                                        Contingent
          WESTBURY, NY 11590                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.278    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NEVADA DEPARTMENT OF                                       Check all that apply.
          TAXATION                                                    Contingent
          P.O. BOX 52609                                              Unliquidated
          PHOENIX, AZ 85072-2609
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.279    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NEVADA STATE FIRE MARSHAL                                  Check all that apply.
          107 JACOBSEN WAY                                            Contingent
          CARSON CITY, NV 89711                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.280    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NEW YORK CITY DEPARTMENT                                   Check all that apply.
          OF HEALTH AND                                               Contingent
          PO BOX 4081                                                 Unliquidated
          NEW YORK, NY 10261-4081
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.281    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NEW YORK STATE                                             Check all that apply.
          DEPT OF TAXATION AND                                        Contingent
          FINANCE                                                     Unliquidated
          P.O. BOX 22076
                                                                      Disputed
          ALBANY, NY 12201-2076
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.282    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NEW YORK STATE SALES TAX                                   Check all that apply.
          NYS SALES TAX PROCESSING                                    Contingent
          PO BOX 1205                                                 Unliquidated
          NEW YORK, NY 10116-1205
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.283    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NORTH COUNTY FAIR LP                                       Check all that apply.
          C/O NORTH COUNTY FAIR                                       Contingent
          PO BOX 55697                                                Unliquidated
          LOS ANGELES, CA 90074-5697
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.284    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NYC DEPARTMENT OF FINANCE                                  Check all that apply.
          C/O FIRST DATA                                              Contingent
          1150 SOUTH AVENUE                                           Unliquidated
          STATEN ISLAND, NY 10314-3404
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.285    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NYC DEPT . OF BUILDING                                     Check all that apply.
          280 BROADWAY                                                Contingent
          NEW YORK, NY 10007                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.286    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NYC FIRE DEPARTMENT                                        Check all that apply.
          9 METROTECH CENTER                                          Contingent
          BROOKLYN, NY 11201                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.287    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NYS DEPARTMENT OF LAW                                      Check all that apply.
          CHARITIES BUREAU                                            Contingent
          REGISTRATION SECTION                                        Unliquidated
          NEW YORK, NY 10005
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.288    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          OFFICE OF THE SECRETARY OF                                 Check all that apply.
          STATE                                                       Contingent
          P.O. BOX 40234                                              Unliquidated
          OLYMPIA, WA 98504-0234
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.289    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ORANGE COUNTY FIRE                                         Check all that apply.
          AUTHORITY                                                   Contingent
          ACCOUNTS RECEIVABLE                                         Unliquidated
          PO BOX 51985
                                                                      Disputed
          IRVINE, CA 92619
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.290    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ORANGE COUNTY TAX                                          Check all that apply.
          COLLECTOR                                                   Contingent
          625 N ROSS STREET                                           Unliquidated
          BLDG 11 RM G58
                                                                      Disputed
          SANTA ANA, CA 92702-1438
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.291    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ORANGE COUNTY TREASURER                                    Check all that apply.
          601 N ROSS ST                                               Contingent
          SANTA ANA, CA 92701                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.292    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ORANGE COUNTY, HEALTH CARE                                 Check all that apply.
          AGENCY                                                      Contingent
          405 W 5TH ST                                                Unliquidated
          SANTA ANA, CA 92701
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.293    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          OREGON DEPARTMENT OF                                       Check all that apply.
          JUSTICE                                                     Contingent
          100 SW MARKET STREET                                        Unliquidated
          PORTLAND, OR 97201-5702
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.294    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          OREGON DEPT. OF REVENUE                                    Check all that apply.
          PO # 14725                                                  Contingent
          SALEM, OR 97309-5018                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.295    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          OSCEOLA COUNTY TAX                                         Check all that apply.
          COLLECTOR                                                   Contingent
          PO BOX 422105                                               Unliquidated
          KISSIMMEE, FL 34742
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.296    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PALM BEACH COUNTY                                          Check all that apply.
          ATTN: ALARM UNIT                                            Contingent
          WEST PALM BEACH, FL                                         Unliquidated
          33416-4681
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.297    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PALM BEACH COUNTY HEALTH                                   Check all that apply.
          DEPARTMENT                                                  Contingent
          800 CLEMATIS ST                                             Unliquidated
          WEST PALM BEACH, FL 33401
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.298    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PALM BEACH COUNTY TAX                                      Check all that apply.
          COLLECTOR                                                   Contingent
          PO BOX 3353                                                 Unliquidated
          WEST PALM BEACH, FL
                                                                      Disputed
          33402-3353
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.299    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PASADENA INDEPENDENT                                       Check all that apply.
          SCHOOL DISTRICT                                             Contingent
          PO BOX 1318                                                 Unliquidated
          2223 STRAWBERRY
                                                                      Disputed
          PASADENA, TX 77501-1318
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.300    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PIERCE COUNTY BUDGET &                                     Check all that apply.
          FINANCE                                                     Contingent
          P.O. BOX 11621                                              Unliquidated
          TACOMA, WA 98411-6621
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.301    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PISCATAWAY TOWNSHIP                                        Check all that apply.
          455 HOES LANE                                               Contingent
          PISCATAWAY, NJ 08854                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.302    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PLACER COUNTY                                              Check all that apply.
          ENVIRONMENTAL HEALTH                                        Contingent
          3091 COUNTY CENTER DR # 180                                 Unliquidated
          AUBURN, CA 95603
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.303    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PLACER COUNTY TAX                                          Check all that apply.
          COLLECTOR                                                   Contingent
          FINANCE ADMINISTRATION BLDG                                 Unliquidated
          2976 RICHARDSON DRIVE, 2ND
                                                                      Disputed
          FLOOR
          AUBURN, CA 95603
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.304    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          POUDRE FIRE AUTHORITY                                      Check all that apply.
          102 REMINGTON STREET                                        Contingent
          FORT COLLINS, CO 80524                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.305    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PRINCE GEORGES COUNTY                                      Check all that apply.
          DEPT. OF PERMITTING AND                                     Contingent
          HEALTH DEPT                                                 Unliquidated
          9400 PEPPERCORN PLACE
                                                                      Disputed
          LARGO, MD 20774
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.306    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PRP COMMERCIAL REAL STATE                                  Check all that apply.
          SERVICES INC                                                Contingent
          MADISON                                                     Unliquidated
          417 29TH STREET
                                                                      Disputed
          NEWPORT BEACH, CA 92663
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.307    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          RENTON REGIONAL FIRE                                       Check all that apply.
          AUTHORITY                                                   Contingent
          18002 108TH AVE SE                                          Unliquidated
          RENTON, WA 98055
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.308    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          RIVERSIDE COUNTY TREASURER                                 Check all that apply.
          PO BOX 12005                                                Contingent
          RIVERSIDE, CA 92502-2205                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.309    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ROCKLAND COUNTY                                            Check all that apply.
          DEPARTMENT OF HEALTH                                        Contingent
          50 SANATORIUM ROAD-BUILDING                                 Unliquidated
          D
                                                                      Disputed
          POMONA, NY 10970
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.310    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ROCKWALL CENTRAL                                           Check all that apply.
          APPRAISAL DISTRICT                                          Contingent
          841 JUSTIN ROAD                                             Unliquidated
          ROCKWALL, TX 75087
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.311    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ROSEVILLE FIRE DEPARTMENT                                  Check all that apply.
          80 LINCOLN ST                                               Contingent
          ROSEVILLE, CA 95678                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.312    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SACRAMENTO COUNTY TAX                                      Check all that apply.
          COLLECTOR                                                   Contingent
          700 H STREET                                                Unliquidated
          ROOM 1710
                                                                      Disputed
          SACRAMENTO, CA 95814-1205
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.313    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SALT LAKE CITY CORPORATION                                 Check all that apply.
          1530 S W TEMPLE                                             Contingent
          SALT LAKE CITY, UT 84115                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.314    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SALT LAKE COUNTY ASSESSOR                                  Check all that apply.
          2001 S STATE ST, SUITE N2300A                               Contingent
          SALT LAKE CITY, UT 84190-1300                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.315    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SALT LAKE COUNTY TREASURER                                 Check all that apply.
          2001 S. STATE STREET, N1200                                 Contingent
          SALT LAKE CITY, UT 84190-1250                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.316    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SALT LAKE VALLEY HEALTH                                    Check all that apply.
          DEPT                                                        Contingent
          PO BOX 144575                                               Unliquidated
          SALT LAKE CITY, UT 84114-4575
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.317    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN BERNARDINO COUNTY                                      Check all that apply.
          TAX COLLECTOR                                               Contingent
          268 WEST HOSPITALITY LANE                                   Unliquidated
          SAN BERNARDINO, CA
                                                                      Disputed
          92415-0360
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.318    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN DIEGO COUNTY                                           Check all that apply.
          TREASURER- TAX COLLECTOR                                    Contingent
          P.O.BOX 129009                                              Unliquidated
          SAN DIEGO, CA 92112
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.319    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN FRANCISCO DEPT OF                                      Check all that apply.
          PUBLIC HEALTH                                               Contingent
          101 GROVE ST                                                Unliquidated
          SAN FRANCISCO, CA 94102
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.320    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN FRANCISCO TAX                                          Check all that apply.
          COLLECTOR                                                   Contingent
          TAX COLLECTOR'S OFFICE                                      Unliquidated
          P.O. BOX 7427
                                                                      Disputed
          SAN FRANCISCO, CA 94120-7427
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.321    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN JOAQUIN COUNTY PUBLIC                                  Check all that apply.
          HEALTH                                                      Contingent
          1868 E HAZELTON AVE                                         Unliquidated
          STOCKTON, CA 95205
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.322    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN JOAQUIN COUNTY TAX                                     Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 2169                                               Unliquidated
          STOCKTON, CA 95201-2169
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.323    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN MATEO COUNTY                                           Check all that apply.
          ENVIRONMENTAL                                               Contingent
          2000 ALAMEDA DE LAS PULGAS                                  Unliquidated
          STE 100
                                                                      Disputed
          SAN MATEO, CA 94403-1269
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.324    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN MATEO COUNTY TAX                                       Check all that apply.
          COLLECTOR                                                   Contingent
          LEE BUFFINGTON, TAX                                         Unliquidated
          COLLECTOR
                                                                      Disputed
          555 COUNTY CENTER, 1ST
          FLOOR
          REDWOOD CITY, CA 94063
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.325    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN MIGUEL FIRE PROTECTION                                 Check all that apply.
          DISTRICT                                                    Contingent
          2850 VIA ORANGE WAY                                         Unliquidated
          SPRING VALLEY, CA 91978
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.326    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SANTA BARBARA COUNTY TAX                                   Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 579                                                Unliquidated
          SANTA BARBARA, CA 93102-0579
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.327    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SANTA CLARA COUNTY                                         Check all that apply.
          TAX COLLECTOR                                               Contingent
          70 W. HEDDING ST., EAST WING                                Unliquidated
          SAN JOSE, CA 95110-1767
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.328    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SANTA CRUZ COUNTY TAX                                      Check all that apply.
          COLLECTOR                                                   Contingent
          PO BOX 1817                                                 Unliquidated
          SANTA CRUZ, CA 95061
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.329    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SEATTLE-KING COUNTY                                        Check all that apply.
          401 FIFTH AVE SUITE 1100E                                   Contingent
          SEATTLE, WA 98104                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.330    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SECRETARY OF STATE -                                       Check all that apply.
          SACRAMENTO                                                  Contingent
          P.O. BOX 944230                                             Unliquidated
          SACRAMENTO, CA 94244-2300
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.331    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SECRETARY OF STATE - TEXAS                                 Check all that apply.
          PO BOX 13550                                                Contingent
          AUSTIN, TX 78711-3550                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.332    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SEMINOLE COUNTY TAX                                        Check all that apply.
          COLLECTOR                                                   Contingent
          PO BOX 630                                                  Unliquidated
          SANFORD, FL 32772-0630
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.333    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SNOHOMISH COUNTY                                           Check all that apply.
          TREASURER                                                   Contingent
          P.O. BOX 34171                                              Unliquidated
          SEATTLE, WA 98124-1171
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.334    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SNOHOMISH HEALTH DISTRICT                                  Check all that apply.
          3020 RUCKER AVENUE, SUITE 104                               Contingent
          EVERETT, WA 98201-3900                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.335    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SOLANO COUNTY                                              Check all that apply.
          675 TEXAS STREET, SUITE 5500                                Contingent
          FAIRFIELD, CA 94533                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.336    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SONOMA COUNTY                                              Check all that apply.
          TREASURER / TAX COLLECTOR                                   Contingent
          585 FISCAL DRIVE, RM 100F                                   Unliquidated
          SANTA ROSA, CA 95403
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.337    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SOUTHERN NEVADA HEALTH                                     Check all that apply.
          DISTRICT                                                    Contingent
          280 S DECATUR BLVD                                          Unliquidated
          LAS VEGAS, NV 89107
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.338    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SOUTHLAKE DEPARTMENT OF                                    Check all that apply.
          PUBLIC SAFETY                                               Contingent
          1400 MAIN STREET                                            Unliquidated
          SOUTHLAKE, TX 76092
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.339    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE BOARD OF EQUALIZATION                                Check all that apply.
          P.O. BOX 942879                                             Contingent
          SACRAMENTO, CA 94279-8064                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.340    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF DELAWARE                                          Check all that apply.
          DEPARTMENT OF STATE                                         Contingent
          DIVISION OF CORPORATIONS                                    Unliquidated
          PO BOX 898
                                                                      Disputed
          DOVER, DE 19903
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.341    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF FLORIDA DEPT. OF                                  Check all that apply.
          HEALTH                                                      Contingent
          4052 BALD CYPRESS WAY                                       Unliquidated
          TALLAHASSEE, FL 32399
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.342    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF FLORIDA,                                          Check all that apply.
          DEPARTMENT OF HEALTH                                        Contingent
          1725 NW 167 ST                                              Unliquidated
          MIAMI, FL 33056
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
              Name

 2.343    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF HAWAII SANITATION                                 Check all that apply.
          BRANCH                                                      Contingent
          99-945 HALAWA VALLEY ST                                     Unliquidated
          AIEA, HI 96701
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.344    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF MARYLAND                                          Check all that apply.
          301 WEST PRESTON STREET                                     Contingent
          BALTIMORE, MD 21201-2395                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.345    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF NEVADA                                            Check all that apply.
          3360 W. SAHARA AVENUE                                       Contingent
          LAS VEGAS, NV 89102                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.346    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF NEW JERSEY                                        Check all that apply.
          DEPT. OF LABOR AND                                          Contingent
          WORKFORCE DEV.                                              Unliquidated
          BUREAU OF BOILER AND
                                                                      Disputed
          PRESSURE VESSELS
          TRENTON, NJ 08625-0392
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.347    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF UTAH                                              Check all that apply.
          DIVISION OF CONSUMER                                        Contingent
          PROTECTION                                                  Unliquidated
          SALT LAKE CITY, UT 84114-6704
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.348    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF WASHINGTON                                        Check all that apply.
          PO BOX 44410                                                Contingent
          OLYMPIA, WA 98504-4410                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.349    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SUGAR LAND CITY HALL                                       Check all that apply.
          2700 TOWN CENTER BLVD N                                     Contingent
          SUGAR LAND, TX 77479                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.350    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TACOMA - PIERCE COUNTY                                     Check all that apply.
          3629 SOUTH D. STREET                                        Contingent
          TACOMA, WA 98418-6813                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
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 2.351    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TARRANT COUNTY HEALTH                                      Check all that apply.
          DEPARTMENT                                                  Contingent
          SUITE 2300                                                  Unliquidated
          FORT WORTH, TX 76104-4802
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.352    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TARRANT COUNTY TAX                                         Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 961018                                             Unliquidated
          FORT WORTH, TX 76161-0018
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.353    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TAX ASSESSOR-COLLECTOR,                                    Check all that apply.
          COLLIN COUNTY                                               Contingent
          2300 BLOOMDALE ROAD                                         Unliquidated
          STE 2324
                                                                      Disputed
          MCKINNEY, TX 75071
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.354    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TAX COLLECTOR - ALAMEDA                                    Check all that apply.
          COUNTY                                                      Contingent
          1221 OAK STREET                                             Unliquidated
          SUITE 536
                                                                      Disputed
          OAKLAND, CA 94612
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.355    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TEXAS DEPARTMENT OF                                        Check all that apply.
          LICENSING                                                   Contingent
          P.O. BOX 12157                                              Unliquidated
          AUSTIN, TX 78711
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.356    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TEXAS STATE CONTROLLER OF                                  Check all that apply.
          PUBLIC ACCTS.                                               Contingent
          REVENUE REFUNDS DIVISION                                    Unliquidated
          P.O. BOX 12019
                                                                      Disputed
          AUSTIN, TX 78711-2019
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.357    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THE CITY OF BUENA PARK                                     Check all that apply.
          6640 BEACH BLVD                                             Contingent
          BUENA PARK, CA 90622                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.358    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THE CITY OF HAWAIIAN                                       Check all that apply.
          GARDENS                                                     Contingent
          21815 PIONEER BOULEVARD                                     Unliquidated
          HAWAIIAN GARDENS, CA 90716
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.359    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THE COUNTY OF CONTRA COSTA                                 Check all that apply.
          651 PINE STREET                                             Contingent
          MARTINEZ, CA 94553                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.360    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THE COUNTY OF ORANGE                                       Check all that apply.
          HALL OF ADMINISTRATION                                      Contingent
          333 W. SANTA ANA BLVD.                                      Unliquidated
          SANTA ANA, CA 92701
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.361    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THURSTON COUNTY PUBLIC                                     Check all that apply.
          HEALTH &                                                    Contingent
          412 LILY ROAD NE                                            Unliquidated
          OLYMPIA, WA 98506-5132
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.362    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THURSTON COUNTY TREASURER                                  Check all that apply.
          2000 LAKERIDGE DRIVE SW                                     Contingent
          OLYMPIA, WA 98502-6080                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.363    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF ADDISON                                            Check all that apply.
          5300 BELT LINE RD.                                          Contingent
          DALLAS, TX 75254                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.364    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF ADDISON                                            Check all that apply.
          ENVIROMENTAL SERVICES                                       Contingent
          PO BOX 9010                                                 Unliquidated
          ADDISON, TX 75001-9010
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.365    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF APPLE VALLEY                                       Check all that apply.
          14955 DALE EVANS PKWY                                       Contingent
          APPLE VALLEY, CA 92307                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.366    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF CLARKSTOWN                                         Check all that apply.
          10 MAPLE AVE #5013                                          Contingent
          NEW CITY, NY 10956                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.367    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF HEMPSTEAD                                          Check all that apply.
          1 WASHINGTON ST                                             Contingent
          HEMPSTEAD, NY 11550                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.368    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF LITTLE ELM                                         Check all that apply.
          100 W. ELDORADO PARKWAY                                     Contingent
          LITTLE ELM, TX 75068                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.369    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF PARKER                                             Check all that apply.
          20120 MAINSTREET                                            Contingent
          PARKER, CO 80138                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.370    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWNSHIP OF CLARK                                          Check all that apply.
          430 WESTFIELD AVENUE                                        Contingent
          CLARK, NJ 07066                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.371    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWNSHIP OF HANOVER                                        Check all that apply.
          P.O. BOX 250                                                Contingent
          WHIPPANY, NJ 07981                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.372    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWNSHIP OF SADDLE BROOK                                   Check all that apply.
          540 SADDLE RIVER RD                                         Contingent
          SADDLE BROOK, NJ 07663                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.373    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TRAVIS COUNTY TAX                                          Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 149328                                             Unliquidated
          AUSTIN, TX 78714-9328
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.374    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TREASURER OF VIRGINIA                                      Check all that apply.
          101 N 14TH ST                                               Contingent
          RICHMOND, VA 23219                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 94 of 99
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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
              Name

 2.375    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TREASURER, CITY & COUNTY OF                                Check all that apply.
          DENVER                                                      Contingent
          144 W. COLFAX                                               Unliquidated
          P.O. BOX 17420
                                                                      Disputed
          DENVER, CO 80217-0420
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.376    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TRI-COUNTY HEALTH                                          Check all that apply.
          DEPARTMENT                                                  Contingent
          4201 E 72ND AVE SUITE D                                     Unliquidated
          COMMERCE CITY, CO 80022
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.377    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          UNITED FIRE AUTHORITY                                      Check all that apply.
          3380 S. 900 W                                               Contingent
          SALT LAKE CITY, UT 84119                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.378    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          UNITED STATES TREASURY                                     Check all that apply.
          P.O. BOX 145566                                             Contingent
          CINCINNATI, OH 45250-5566                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
              Name

 2.379    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          UTAH STATE TAX COMMISSION                                  Check all that apply.
          SALES TAX - M                                               Contingent
          210 N. 1950 W.                                              Unliquidated
          SALT LAKE CITY, UT 84134-0400
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.380    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          VENTURA COUNTY                                             Check all that apply.
          TAX COLLECTOR                                               Contingent
          LAWRENCE L. MATHENEY                                        Unliquidated
          VENTURA, CA 93009-1290
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.381    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          VIRGINIA DEPT OF TAXATION                                  Check all that apply.
          VIRGINIA RETAIL SALES & USE                                 Contingent
          TAX                                                         Unliquidated
          PO BOX 26626
                                                                      Disputed
          RICHMOND, VA 23261-6626
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.382    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WA STATE DEPT OF LABOR &                                   Check all that apply.
          INDUSTRIES                                                  Contingent
          7273 LINDERSON WAY SW                                       Unliquidated
          TUMWATER, WA 98501
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
              Name

 2.383    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WASHINGTON COUNTY                                          Check all that apply.
          PR0PERTY TAX PAYMENT                                        Contingent
          CENTER                                                      Unliquidated
          PO BOX 3587
                                                                      Disputed
          PORTLAND, OR 97208-3587
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.384    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WASHINGTON COUNTY HEALTH                                   Check all that apply.
          155 N FIRST AVENUE, MS-5                                    Contingent
          HILLSBORO, OR 97124-3072                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.385    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WASHINGTON STATE DEPT OF                                   Check all that apply.
          REVENUE                                                     Contingent
          P.O. BOX 34053                                              Unliquidated
          SEATTLE, WA 98124-1053
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.386    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WASHOE COUNTY HEALTH                                       Check all that apply.
          DEPARTMENT                                                  Contingent
          1001 EAST NINTH STREET,                                     Unliquidated
          BUILDING B
                                                                      Disputed
          RENO, NV 89512
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 97 of 99
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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)   20-11559
              Name

 2.387    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WASHOE COUNTY TREASURER                                    Check all that apply.
          P.O. BOX 30039                                              Contingent
          RENO, NV 89520-3039                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.388    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WAYNE TOWNSHIP HEALTH                                      Check all that apply.
          DEPARTMENT                                                  Contingent
          475 VALLEY ROAD                                             Unliquidated
          WAYNE, NJ 07470
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.389    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WEST COVINA FIRE                                           Check all that apply.
          DEPARTMENT                                                  Contingent
          1444 W. GARVEY AVE, ROOM 218                                Unliquidated
          WEST COVINA, CA 91790
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.390    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WESTCHESTER COUNTY HEALTH                                  Check all that apply.
          DEPARTMENT                                                  Contingent
          25 MOORE AVE                                                Unliquidated
          MOUNT KISCO, NY 10549
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 98 of 99
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 Debtor       24 Hour Holdings II LLC                                                                         Case number (if known)          20-11559
              Name

 2.391     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown     Unknown
           WILLIAMSON COUNTY TAX                                     Check all that apply.
           COLLECTOR                                                  Contingent
           904 SOUTH MAIN STREET                                      Unliquidated
           GEORGETOWN, TX 78626-5829
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.392     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown     Unknown
           WOODBRIDGE TOWNSHIP                                       Check all that apply.
           ONE MAIN STREET                                            Contingent
           WOODBRIDGE, NJ 07095                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                         $0.00
           24 Hour Holdings I Corp                                                  Contingent
           #N/A                                                                     Unliquidated
           #N/A                                                                     Disputed
           #N/A, #N/A #N/A
                                                                                   Basis for the claim:     Nondebtor affiliate payable
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?      No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                          On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                             related creditor (if any) listed?                account number, if
                                                                                                                                                              any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                Total of claim amounts
 5a. Total claims from Part 1                                                                                    5a.        $                              0.00
 5b. Total claims from Part 2                                                                                    5b.    +   $                              0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                         5c.        $                                0.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 99 of 99
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 Fill in this information to identify the case:

 Debtor name         24 Hour Holdings II LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11559
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         24 Hour Holdings II LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11559
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      24 Hour Fitness                   1707 Market Place Boulevard, # 200               Morgan Stanley                  D        2.1
             Holdings LLC                      Irving, TX 75063                                 Senior Funding, Inc.             E/F
                                                                                                                                G



    2.2      24 Hour Fitness                   1707 Market Place Boulevard, # 200               Morgan Stanley                  D        2.2
             Holdings LLC                      Irving, TX 75063                                 Senior Funding, Inc.             E/F
                                                                                                                                G



    2.3      24 Hour Fitness                   1707 Market Place Boulevard, # 200               Morgan Stanley                  D        2.1
             United States,                    Irving, TX 75063                                 Senior Funding, Inc.             E/F
             Inc.
                                                                                                                                G



    2.4      24 Hour Fitness                   1707 Market Place Boulevard, # 200               Morgan Stanley                  D        2.2
             United States,                    Irving, TX 75063                                 Senior Funding, Inc.             E/F
             Inc.
                                                                                                                                G



    2.5      24 Hour Fitness                   1707 Market Place Boulevard, # 200               Morgan Stanley                  D        2.1
             USA, Inc.                         Irving, TX 75063                                 Senior Funding, Inc.             E/F
                                                                                                                                G




Official Form 206H                                                         Schedule H: Your Codebtors                                        Page 1 of 2
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 Debtor       24 Hour Holdings II LLC                                                   Case number (if known)   20-11559


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      24 Hour Fitness                   1707 Market Place Boulevard, # 200            Morgan Stanley                 D       2.2
             USA, Inc.                         Irving, TX 75063                              Senior Funding, Inc.            E/F
                                                                                                                            G



    2.7      24 Hour Fitness                   1707 Market Place Boulevard, # 200            Morgan Stanley                 D       2.1
             Worldwide Inc.                    Irving, TX 75063                              Senior Funding, Inc.            E/F
                                                                                                                            G



    2.8      24 Hour Fitness                   1707 Market Place Boulevard, # 200            Morgan Stanley                 D       2.2
             Worldwide Inc.                    Irving, TX 75063                              Senior Funding, Inc.            E/F
                                                                                                                            G



    2.9      RS Fit Holdings                   1707 Market Place Boulevard, # 200            Morgan Stanley                 D       2.1
             LLC                               Irving, TX 75063                              Senior Funding, Inc.            E/F
                                                                                                                            G



    2.10     RS Fit Holdings                   1707 Market Place Boulevard, # 200            Morgan Stanley                 D       2.2
             LLC                               Irving, TX 75063                              Senior Funding, Inc.            E/F
                                                                                                                            G




Official Form 206H                                                       Schedule H: Your Codebtors                                     Page 2 of 2
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Fill in this information to identify the case:

Debtor name         24 Hour Holdings II LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)     20-11559
                                                                                                                               Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

       
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 27, 2020                 X /s/ Chris Nelson
                                                           Signature of individual signing on behalf of debtor

                                                            Chris Nelson
                                                            Printed name

                                                            Executive Vice President and Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
